
USCA1 Opinion

	




                           United States Court of Appeals
                                For the First Circuit
                                ____________________
          No. 96-1670
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellee,
                                         v.
                             KEY BANK OF MAINE, ET AL.,
                               Defendants, Appellees,
                                  ________________
                     JOHN PALMER, PALMER MANAGEMENT CORPORATION,
                         AND PALMER DEVELOPMENT CORPORATION,
                                     Appellants.
                                _____________________
          No. 96-1671
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellant,
                                         v.
                             KEY BANK OF MAINE, ET AL.,
                               Defendants, Appellees.
                                  _________________
          No. 96-1672
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellee,
                                         v.
                             KEY BANK OF MAINE, ET AL.,
                               Defendants, Appellees.
                                _____________________
                                    JOHN SCHIAVI,
                                     Appellant.
                                _____________________

          No. 96-1736
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellee,
                                         v.
                                 KEY BANK OF MAINE,
                                Defendant, Appellant.
                                ____________________
                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                     [Hon. Morton A. Brody, U.S. District Judge]
                                ____________________
                                       Before
                           Selya and Stahl, Circuit Judges,
                           and Woodlock,* District Judge.
                                ____________________
                                    ERRATA SHEET
               Please make the following changes to the opinion issued on
          May 5, 1997:
               On page 6, line 9, "May 1988" should read "May 1989"
               On page 6, the first full paragraph, lines 9-15, should
               be moved in its entirety to become the end of the
               paragraph that begins on line 16 (beginning "In April
               1989").  Specifically, it should be placed after the
               sentence that reads "As part of the liquidation plan,
               PIN and Palmer then assigned Schiavi Homes' assets to
               Key Bank."  It should not form a new paragraph, but,
               instead, should form the continuation of the paragraph
               that currently is at page 6, lines 16-19.  In addition,
               footnote marker 2 (currently located after "Key Bank."
               on page 6, line 19), should be moved to follow the
               sentence that reads "In May 1989, Key Bank notified PIN
               that it intended to exercise the purchase option
               contained in the Lease-Option Agreement."
               On page 17, line 15, replace brackets around
               [hereinafter "Indian fee lands"] with parentheses

       No. 96-1670
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellee,
                                         v.
                             KEY BANK OF MAINE, ET AL.,
                               Defendants, Appellees,
                                  ________________
                     JOHN PALMER, PALMER MANAGEMENT CORPORATION,
                         AND PALMER DEVELOPMENT CORPORATION,
                                     Appellants.
                                _____________________
       No. 96-1671
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellant,
                                         v.
                             KEY BANK OF MAINE, ET AL.,
                               Defendants, Appellees.
                                  _________________
       No. 96-1672
                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellee,
                                         v.
                             KEY BANK OF MAINE, ET AL.,
                               Defendants, Appellees.
                                _____________________
                                    JOHN SCHIAVI,
                                     Appellant.
                                _____________________
       No. 96-1736

                              PENOBSCOT INDIAN NATION,
                                Plaintiff, Appellee,
                                         v.
                                 KEY BANK OF MAINE,
                                Defendant, Appellant.
                                ____________________
                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                     [Hon. Morton A. Brody, U.S. District Judge]
                                ____________________
                                       Before
                           Selya and Stahl, Circuit Judges,
                           and Woodlock,* District Judge.
                                ____________________
            Peter J. Haley, with whom Stephen F. Gordon, Gordon &amp; Wise,
       Ronald C. Caron, and Caron &amp; Sullivan,were on brief for appellant
       Penobscot Indian Nation and third-party defendants-appellees, Gerald
       Pardilla and Reuben Phillips.
            Catherine R. Connors, with whom Debra Brown and Pierce Atwood,
       were on brief for appellee and cross-appellant Key Bank of Maine.
            Justin W. Leary, with whom Leonard I. Sharon and Sharon, Leary &amp;
       Detroy, were on brief for appellee Michael Marcello.
            Stephen B. Wade
             with whom Skelton, Taintor &amp; Abbott was on brief for defendants-
       appellees and cross-appellants, John Palmer, Palmer Management Corp.,
       and Palmer Development Corp.
            Jeffrey A. Thaler with whom Berman &amp; Simmons, P.A. was on brief
       for defendant-appellee and cross-appellant, John Schiavi.
            Melissa A. Hewey with whom Drummond Woodsum &amp; MacMahon was on
       brief for appellees Consumers Water Company, Burlington Homes of New
       England, Inc., and SHC Corporation.
                                ____________________
                                     May 5, 1997
                                ____________________
       _____________________
       * Of the District of Massachusetts, sitting by designation.

                      STAHL, Circuit  Judge.    Appellant,  a  federally-
            recognized 
                      Indian 
                            tribe, 
                                   appeals the district court's denial of
            its motion for declaratory judgment, pursuant to 25 U.S.C.  S
            81, seeking to  invalidate several agreements concerning  the
            purchase and operation of a mobile home business.   Appellees
            cross appeal the district court's summary judgment ruling  in
            favor 
                 of 
                    Appellant on several defamation counterclaims as well
            as a breach of  contract and emotional distress  counterclaim
            stemming from litigation involving  the failure of this  same
            mobile home business.
                                     Background
                      Although 
                              the 
                                 district 
                                          court provided a cogent summary
            of the facts and procedural history in its memorandum opinion
            below, see Penobscot Indian Nation v. Key Bank, 906 F.  Supp.
            13, 
               16-17 
                     (D. 
                        Me. 
                            1995), 
                                   the complexity of this case compels us
            to sketch the necessary background information.
                      In 1983, Consumers  Water Company ("CWC")  acquired
            Schiavi Homes Corporation ("SHC"), a profitable Maine  mobile
            home sales  business, from John  Schiavi ("Schiavi").   Under
            CWC's ownership, SHC continued  to operate successfully.   In
            1985, John Palmer ("Palmer") became SHC's new president.   In
            August 1985,  Palmer and his  wife, Mary  Anna, also  founded
            Palmer Development Corporation ("Palmer Development").   Like
            SHC, Palmer Development engaged in the sale of mobile homes 
            throughout Maine.
                                         -3-

                      In 1985, the Penobscot Indian Nation ("PIN")  hired
            Tribal  Assets Management  ("TAM") to  locate, evaluate,  and
            recommend potential investment opportunities.  Late in  1986,
            TAM 
               identified SHC as a potential PIN investment and conducted
            a 
             detailed 
                      analysis 
                              of 
                                 SHC's viability as a successful business
            venture.    TAM  alerted PIN  that  SHC  constituted  a  good
            investment possibility, but cautioned PIN that the success of
            the 
               venture 
                       would 
                            depend 
                                   largely on PIN's willingness to invest
            in new mobile home sites on which the mobile homes it sold to
            retail  customers  could  be  located.    PIN  expressed  its
            willingness 
                       to use its lands and invest its resources for such
            purposes.
                      On  December 31,  1986, PIN  and Palmer  Management
            Corporation 
                       ("Palmer 
                               Management"), a corporation formed for the
            purpose of purchasing  SHC, executed a Partnership  Agreement
            creating 
                    Schiavi Homes ("Schiavi Homes" or "the Partnership"),
            a Maine  limited partnership.   Pursuant  to the  Partnership
            Agreement, PIN  became the  sole limited  partner and  Palmer
            Management the sole general partner.1  PIN acquired a  ninety
            percent 
                   interest in Schiavi Homes.  Palmer Management received
            only a  ten percent share but  secured full control over  all
            management decisions.
            1.  Prior to the purchase, TAM informed PIN that Palmer had
            been the president of SHC.  PIN also knew both that Palmer
            and his wife owned Palmer Development and that Palmer
            Development engaged in business activities similar to those
            of SHC.
                                         -4-
                                          4

                      Also on December 31, 1986, the Partnership executed
            a 
             Purchase 
                      and Sale Agreement with SHC, which provided for the
            Partnership's  purchase of  SHC's  assets  and  business  for
            approximately $5  million.  Key  Bank of  Maine ("Key  Bank")
            financed 
                    the 
                        purchase on the condition that Palmer retain full
            management 
                      control over Schiavi Homes.  Key Bank also insisted
            that 
                PIN 
                    post a $1 million letter of credit to secure its loan
            and agree  to restrictions on  the withdrawal  of funds  from
            Schiavi Homes.
                      As part  of its  purchase of  SHC, the  Partnership
            secured three non-competition agreements.  CWC entered into a
            non-competition agreement with Schiavi Homes and assigned  to
            the Partnership its  interest in an existing  non-competition
            agreement  with Schiavi,  which it  obtained at  the time  it
            originally acquired  the business.   Palmer signed a  similar
            agreement with the Partnership.
                      Schiavi Homes  fared  poorly  from  its  inception.
            Although sales of mobile  homes in Maine reached an all  time
            high 
                during 
                       this 
                           time, 
                                 by the end of 1987 Schiavi Homes' market
            share had declined from eighteen to eight percent.  Over  the
            course  of  its  three  year  existence,  PIN  made   several
            investments 
                       in 
                         Schiavi 
                                 Homes in an attempt to buoy its business
            fortunes.  Most significantly, in October 1987, PIN signed  a
            Lease-Option  Agreement with  Schiavi Homes  leasing for  the
            nominal fee of $1 per  year a twenty-four acre tract of  real
                                         -5-
                                          5

            property 
                    (the 
                        "Holden 
                                Lot") that PIN purchased during this same
             onth. 
                   
                   The 
                      Lease-Option 
                                   Agreement afforded the Partnership the
            option
            m       to  purchase  the  Holden  Lot  for  $100,000.    PIN
            subsequently invested approximately  $135,000 to develop  the
            Holden Lot  for purposes of the  Schiavi Homes business.   In
            December 1988, with Schiavi Homes unable to make its  regular
            monthly 
                   loan 
                        payment 
                               of 
                                  principal and interest to Key Bank, the
            Partnership pledged the Lease-Option Agreement to Key Bank.
                      In April 1989, acting on the advice of its counsel,
            Bernstein, 
                      Shur, Sawyer &amp; Nelson ("Bernstein"), PIN decided to
            liquidate 
                     Schiavi Homes.  As part of the liquidation plan, PIN
            and Palmer then assigned Schiavi Homes' assets to Key Bank.
            In 
              May 
                  1989, 
                       Key 
                           Bank 
                                notified PIN that it intended to exercise
            the purchase option contained in the Lease-Option Agreement.2
            At 
              this 
                   time, 
                        Key 
                            Bank 
                                 also initiated three foreclosure actions
            with respect to real property that the Partnership owned  and
            encumbered 
                      with 
                          mortgage 
                                   deeds given to Key Bank in conjunction
            with the initial financing of SHC's purchase.
                      On  September  29,  1989,  PIN  entered  into   two
            comprehensive
                         Settlement Agreements with Schiavi, SHC, Schiavi
            2.  
           The Area Director of the Eastern Area Office of the Bureau of
           Indian Affairs, George Big Eagle, approved the transfer of
           the Holden Lot to Key Bank pursuant to Title IV of the Indian
           Financing Act of 1974, 25 U.S.C. SS 1451-1543, which forbids,
           without written consent, any transfer or disposal of a
           project being improved with federal grant funds within three
           years of the use of such funds.
                                         -6-
                                          6

            Homes, 
                  Palmer, 
                         Palmer 
                                Management, Key Bank, Burlington Homes of
            New England3  ("Burlington  Homes"),  and  CWC  (collectively
            "Appellees").  PIN,  Schiavi Homes,  Schiavi, Palmer,  Palmer
            Management,  and  Key  Bank  executed  the  first  Settlement
            Agreement ("first Settlement Agreement"); PIN, Schiavi Homes,
            SHC, Palmer, Palmer Management, Key Bank, CWC, and Burlington
            Homes  executed  the  second  Settlement  Agreement  ("second
            Settlement 
                      Agreement"). 
                                   
                                   The two agreements contained identical
            language that served broadly to "release, remise and  forever
            discharge" 
                      all 
                         claims 
                                involving the signatories.  Subsequent to
            the 
               signing 
                       of 
                         the 
                             two 
                                 Settlement Agreements, legal proceedings
            deriving from the operation of Schiavi Homes ceased.
                      The ensuing period of  calm ended on September  14,
            1994, 
                 when 
                      PIN 
                         filed 
                               the 
                                   lawsuit underlying this appeal.  PIN's
            suit stemmed from an  investigation of Key Bank's  activities
            relating 
                    to 
                       Schiavi Homes that Penobscot County Deputy Sheriff
            Carl Andrews conducted between approximately 1993 and  1994.4
            3.  Burlington Homes of New England, a subsidiary of CWC,
            manufactured mobile homes.  SHC, Schiavi Homes, and Palmer
            Development all sold homes that Burlington manufactured.
            4.  The record does not reveal the exact duration, scope, or
            findings of the investigation.  Andrews testified that he
            provided the Maine Attorney General's office with a three
            page report summarizing his findings, but he did not divulge
            the report's contents to PIN.  No party submitted this report
            into evidence; in fact, it is not apparent from the record
            that the results of the investigation were set out in writing
            or were made known to the public.  It is clear, however, that
            no criminal proceedings of any kind resulted from Andrews'
            investigation.
                                         -7-
                                          7

            PIN alleges that Andrews' investigation revealed  substantial
            improprieties on the part of PIN's business associates in the
            Schiavi Homes venture.  Also on September 14, 1994, PIN  held
            two press  conferences,  one in  Bangor,  Maine, and  one  in
            Portland, Maine,  to announce the  filing of  its lawsuit  in
            federal  district  court.    Michael  Marcello,  PIN's  media
            relations 
                     consultant, 
                                prepared the statements that PIN Governor
            Reuben Phillips and  PIN Lieutenant Governor Gerald  Pardilla
            read at the two press conferences.  Marcello also distributed
            the text of the statements to members of the media.
                      PIN's 
                           complaint contained nine counts and named nine
            defendants.  Most importantly for our purposes, the complaint
            alleged that the two Settlement Agreements signed by PIN  and
            the  Appellees were  void because  they did  not receive  the
            Secretary of the Interior's approval pursuant to 25 U.S.C.  S
            81.5  SHC filed a motion to dismiss PIN's claims.  Key  Bank,
            Schiavi, Palmer, Palmer Development, Palmer Management,  CWC,
            and Burlington Homes moved for summary judgment.
            5.  PIN's complaint also alleged the following:  (1) breach
            of duty of good faith and fair dealing (against Key Bank,
            CWC, SHC, Burlington, Schiavi, Palmer, and Palmer
            Management); (2) breach of contract (against Schiavi); (3)
            misrepresentation (against CWC, SHC, Burlington, Schiavi, and
            Palmer); (4) fraud (against Bernstein); (5) negligence
            (against Bernstein); (6) breach of fiduciary duty (against
            Key Bank, Palmer, and Palmer Management); and (7) RICO
            violations (against Key Bank, CWC, Burlington, Bernstein,
            Schiavi, Palmer, Palmer Management, and Palmer Development).
                                         -8-
                                          8

                      Palmer, Palmer Development, Palmer Management  (the
            "Palmer 
                   Defendants"), 
                                Key Bank, and Schiavi filed counterclaims
            against PIN for defamation and punitive damages based on  the
            alleged defamation stemming from the September 14, 1994 press
            conferences.   Key  Bank filed  counterclaims for  defamation
            against Marcello, Phillips, and Pardilla.  Also deriving from
            these 
                 press 
                       conferences, Palmer asserted counterclaims against
            PIN  for intentional  and negligent  infliction of  emotional
            distress.     Both   Palmer  and   Palmer  Management   filed
            counterclaims 
                         against 
                                PIN for breach of contract, alleging that
            PIN's suit violated the  release contained in the  Settlement
            Agreements. 
                        
                        Only Marcello responded with a motion for summary
            judgment.
                      The district court  (Brody, J.)  concluded that  25
            U.S.C. S  81  did not  apply  to the  Settlement  Agreements.
            Determining that the Settlement Agreements constituted  valid
            releases, the district court granted summary judgment for the
            defendants 
                      with respect to all of PIN's claims.  See Penobscot
            Indian 
                  Nation, 
                         906 
                             F. 
                                Supp. at 20-21.  Treating SHC's motion to
            dismiss as a motion for summary judgment, the district  court
            separately granted  summary  judgment for  SHC based  on  the
            binding 
                   nature 
                          of 
                            the 
                                Settlement Agreements.  See id. at 21-22.
            The district court also ruled that the statute of limitations
            barred PIN's RICO claims.  See id. at 21.
                                         -9-
                                          9

                      The 
                         district 
                                  court 
                                       then 
                                            considered the counterclaims.
            Finding that Key Bank did not allege facts demonstrating even
                  ence  on Marcello's  part, the  district court  granted
            Marcello's 
                      motion 
                            for 
                                summary judgment on Key Bank's defamation
                terclaim.       
            neglig
            coun            See id. at  23.  Despite  the fact that  only
            Marcello filed  a motion for  summary judgment, the  district
            court proceeded to grant summary judgment sua sponte for  PIN
            and  the  remaining  cross-Appellees  with  respect  to   the
            defamation 
                      claims.6  See id.  Judge Brody also awarded summary
            judgment sua sponte for PIN and the other cross-Appellees  on
            the punitive damage counterclaims.  See id. at 24.   Finally,
            the district court granted PIN's motion for summary  judgment
            with respect to the emotional distress and breach of contract
            claims. 
                    
                    See
                        
                        Penobscot Indian Nation v. Key Bank, Civ. No. 94-
            0212-B (D. Me. Dec. 13, 1995).
                      In  the spring  of 1996,  PIN's malpractice  claims
            against Bernstein  went to  trial before  a jury.   The  jury
            returned a verdict in favor of Bernstein.  The district court
            then entered a final judgment resolving all claims on May  7,
            1996.  These appeals ensued.7  
            6.  The Palmer Defendants immediately filed a motion for
            reconsideration, which the district court subsequently denied 
            See Penobscot Indian Nation v. Key Bank, Civ. No. 94-0212-B,
            1 (D. Me. Dec. 13, 1995).
            7.  PIN did not appeal the adverse judgment respecting either
            its RICO claims or its other claims against Bernstein. 
            Cross-Appellants did not appeal the district court's sua
            sponte ruling as to punitive damages.
                                        -10-
                                         10

                                 Standard of Review
                      The district court  must grant summary judgment  if
            "the pleadings, depositions, answers to interrogatories,  and
            admissions on file, together  with the affidavits . . .  show
            that 
                there 
                      is 
                        no 
                           genuine 
                                   issue as to any material fact and that
            the 
               moving 
                      party 
                           is 
                              entitled to a judgment as a matter of law."
            Fed. R. Civ. P. 56(c).  "On appeal from the entry of  summary
            judgment we  review the  district court's  decision de  novo,
            construing the record in the light most . . . [favorable]  to
            the 
               non-movant and resolving all reasonable inferences in that
            party's 
                   favor."  Hachikian v. FDIC, 96 F.3d 502, 504 (1st Cir.
            1996).  We are not "wedded to the district court's reasoning.
            Rather, 
                   '[w]e are free, on appeal, to affirm a judgment on any
            independently sufficient ground.'"   Garside  v. Osco  Drugs,
            Inc., 895 F.2d 46, 49 (1st Cir. 1990) (quoting  Polyplastics,
            Inc.  v. Transconex,  Inc., 827  F.2d 859,  860-61 (1st  Cir.
            1987)).    
                                     Discussion
                      This 
                          appeal 
                                raises 
                                       several issues which we address in
            turn.  We begin by resolving an issue of first impression  in
            this Circuit:  whether  25 U.S.C. S 81 applies to  agreements
            relative 
                    to 
                       lands that an Indian tribe purchases in fee simple
            for investment  purposes.   We then  determine whether  PIN's
            filing 
                  of 
                     this action in 1994 constituted an actionable breach
            of contract.   Subsequently, we  decide whether the  district
                                        -11-
                                         11

            court 
                 erred 
                      in 
                         concluding that the statements Marcello prepared
            and  individual  PIN officials  announced  to  the  press  in
            September 1994 did not amount to defamation.  Thereafter,  we
            touch upon  the issue of whether  PIN's conduct at the  press
            conferences  constituted  either  intentional  or   negligent
            infliction 
                      of 
                        emotional 
                                  distress.  Finally, we evaluate whether
            the 
               district 
                        court 
                             has 
                                 jurisdiction to hear the remaining state
            law claims at issue in this case.
            A.  Section 81
                      PIN sought a declaratory judgment from the district
            court that  the  agreements it  executed with  the  Appellees
            necessitated  approval from  the  Secretary of  the  Interior
            pursuant to 25 U.S.C. S  81.  Section 81 states in  pertinent
            part:
                      No agreement shall be made by any  person
                      with any tribe  of Indians . . . for  the
                      payment or delivery of any money or other
                      thing  of   value,  in   present  or   in
                      prospective,  or  for  the  granting   or
                      procuring any  privilege to  him, or  any
                      other person in consideration of services
                      for 
                         said 
                              Indians relative to their lands .
                      . . unless such agreement be executed and
                      approved as follows:
                                       . . . .
                      It  shall  bear   the  approval  of   the
                      Secretary  of   the  Interior   and   the
                      Commissioner 
                                  of Indian Lands indorsed upon
                      it.
                                       . . . .
             
                      All  contracts  or  agreements  made   in
                      violation of this  section shall be  null
                      and void . . . . 
                                        -12-
                                         12

            Congress adopted S 81, originally Revised Statute S 2103,  in
            1872. 
                  
                  To 
                     this day, Congress has not repealed S 81 and the few
            amendments 
                      to 
                         its 
                            text 
                                 have been only technical.  See Altheimer
            &amp; 
             Gray 
                  v. 
                     Sioux 
                          Mfg. 
                               Corp., 983 F.2d 803, 805 (7th Cir. 1993).8
                      Section 81 dictates  that any agreement within  its
            purview that is not approved by the Secretary of the Interior
            ("the Secretary") is void ab  initio.  PIN insists that S  81
            applies 
                   not 
                       only to the two Settlement Agreements, but also to
            the agreements  pertaining to the  creation and operation  of
            Schiavi Homes, specifically the Asset Purchase Agreement, the
            Partnership Agreement, and  the Lease-Option Agreement.   PIN
            therefore 
                     reasons that the Settlement Agreements, the Purchase
            and Sale  Agreement, and the  Lease-Option Agreement are  not
            binding.   PIN also  contends that  the Secretary  improperly
            determined  that  S  81 did  not  apply  to  the  Partnership
            Agreement.
                      Significantly, if the Settlement Agreements are not
            valid because they  never received  the Secretary's  approval
            pursuant to S 81, PIN may pursue its remaining claims against
            the  Appellees.    If, on  the  other  hand,  the  Settlement
            Agreements  do not fall  within the parameters  of S 81,  PIN
            8.  In addition to technical amendments to S 81, Congress
            passed the Indian Gaming Regulatory Act, 25 U.S.C. SS 2701-
            2721, which provides in part:  "The authority of the
            Secretary under section 81 of this title, relating to
            management contracts regulated pursuant to this chapter, is
            hereby transferred to the [National Indian Gaming]
            Commission."  25 U.S.C. S 2711(h).
                                        -13-
                                         13

            concedes that its remaining  non-S 81 claims fail due to  the
            binding nature  of the Settlement  Agreements.  We  therefore
            begin our analysis by evaluating the applicability of S 81 to
            the Settlement Agreements.
                      1.  Settlement Agreements  
                      Without 
                             regard 
                                    to 
                                      S 
                                        81, 
                                            the two Settlement Agreements
            constituted  valid  releases.    Both  Settlement  Agreements
            provided  that  the  parties  "release,  remise  and  forever
            discharge each other . . . from all suits . . .  at law or in
            equity 
                  . 
                    . 
                     . 
                       which 
                             directly or indirectly relate[] to . . . any
            . . . transactions . . . among each other."  Whether or not S
            81 
              pertains 
                       to 
                         and 
                             thus 
                                  voids the Settlement Agreements depends
            upon whether either  or both constitute an agreement with  an
            Indian tribe for services  relative to Indian lands.  See  25
            U.S.C. S 81.
                           a.  Agreement with an Indian Tribe
                      The Appellees contend that the Partnership,  rather
            than 
                PIN 
                    in 
                       its individual capacity, represents the applicable
            entity  in this case.   This argument  is unavailing.   PIN's
            Lieutenant 
                      Governor signed both Settlement Agreements as PIN's
            personal representative,  not  as the  Partnership's  Limited
            Partner.   John  Palmer, the  Partnership's General  Partner,
            signed on behalf of Schiavi Homes.  Moreover, even if Schiavi
            Homes,  not  PIN  in  its  individual  capacity,  signed  the
            agreements, the district  court's observation that  "[c]ourts
                                        -14-
                                         14

            look beyond  the  mere formality  of corporate  structure  in
            construing  the identity  of parties  with regard  to S  81,"
            Penobscot, 906 F. Supp. at 19, necessitates no elaboration on
            our 
               part. 
                      
                      Se
                        e Altheimer &amp; Gray, 983 F.2d at 809-10; Pueblo of
            Santa Ana v. Hodel, 663 F. Supp. 1300, 1306 (D.D.C. 1987).
                           b.  Services
                      The  district  court  ruled  that  "the  Settlement
            Agreements 
                      themselves 
                                do 
                                   not constitute contracts for services.
            The Settlement  Agreements rather pertain  to the release  of
            legal claims  . . . ."  Penobscot, 906 F. Supp. at 20.   This
            conclusion aptly  describes the  first Settlement  Agreement,
            which made no reference to any service to be performed by any
            party to the Agreement for any other party to the  Agreement.
            The first Settlement Agreement, consequently, did not involve
            services.
                      The 
                         second 
                                Settlement Agreement contains a provision
            obligating 
                      Key 
                          Bank 
                              to 
                                 "jointly [with PIN] seek a purchaser for
            the Holden Lot9 . . . at a price to be mutually agreed upon."
            Because 
                   the 
                       Supreme Court has instructed that federal statutes
            concerning 
                      Indian tribes must be construed "liberally in favor
            of the Indians,"  Montana v. Blackfeet Tribe of Indians,  471
            U.S. 759, 766 (1985), we assume for purposes of this  opinion
            9.  At oral argument, PIN informed us that the Holden Lot
            constitutes the sole tract of land at issue in this case,
            and, thus, the only piece of Indian land to which S 81 could
            apply.
                                        -15-
                                         15

            that 
                this 
                     provision 
                              in 
                                 the second Settlement Agreement entailed
            a 
             "service" 
                       within the meaning of S 81, see Green v. Menominee
            Tribe, 233 U.S. 558,  569 (1914) (finding S 81 applicable  to
            sales contract); see also  Wisconsin Winnebago Bus. Comm.  v.
            Koberstein
                     , 
                      762 
                          F.2d 
                               613, 619 (7th Cir. 1985) (applying S 81 to
            management  contract); United  States  ex rel.  Citizen  Band
            Potawatomi Indian Tribe v. Enterprise Management Consultants,
            Inc.
               , 
                 734 
                     F. 
                        Supp. 455, 457 (W.D. Okla. 1990) (same), aff'd in
            part and rev'd in part, 968 F.2d 22 (10th Cir. 1992); but see
            United States ex rel. Harlan v. Bacon, 21 F.3d 209, 211  (8th
            Cir. 1994) (determining  that lease agreement which  provided
            that 
                forty 
                      percent of produce deriving from use of leased land
            be 
              delivered 
                        to tribe did not entail service within meaning of
            S 81).
                           c.  Relative to Indian lands
                      The final prong  of the S 81 analysis, whether  the
            Settlement Agreements  were  "relative  to  [Indian]  lands,"
            presents a  more difficult  question.   The first  Settlement
            Agreement is not relative to Indian lands because it  neither
            pertained nor referred  to any land  whatsoever.  The  second
            Settlement Agreement, however, both involved and referred  to
            land that an  Indian tribe owned.   Specifically, the  second
            Settlement 
                      Agreement 
                               provided for the disposition of the Holden
            Lot.  At first glance, S 81 may appear to apply to the Holden
            Lot because PIN, an Indian tribe, owned this parcel of  land.
                                        -16-
                                         16

            We believe, however, that the meaning of S 81's language, the
            intentions  of   its  drafters,   the  Interior   Secretary'
                           of  S 81,  the case  law from  o-determinatio
                                   e statute does not apply to the Holden
                                                                        s
            interpretation                                              n
            support 
                   a 
                     holding 
                            that 
                                 th
            Lot.  Although we have uncovered no precedent that explicitly
            considers whether or not S 81 applies to land that an  Indian
            tribe 
                 purchased 
                           in 
                             fee 
                                 simple for investment purposes, in doing
            so now we  give voice to  an assumption underlying  virtually
            every 
                 decision addressing the applicability of S 81 to service
            agreements with Indian tribes relative to their lands.  
                      We 
                        base 
                             our 
                                 conclusion primarily on the distinctions
            between 
                   Indian 
                          trust 
                               or 
                                  tribal lands (hereinafter "Indian trust
            lands")10 and  lands that Indian  tribes hold  in fee  simple
            (hereinafter "Indian fee lands").   The phrase "Indian  trust
            lands" derives from the historic trust relationship  existing
            between Indian tribes and the federal government,  originally
            described as "resembl[ing]  that of a ward to his  guardian."
            Worcester v. Georgia, 30 U.S. (5 Pet.) 1, 17 (1831); see also
            Oneida  County v.  Oneida Indian  Nation, 470  U.S. 226,  247
            10.  We use the terms "Indian trust lands" and "Indian tribal
            lands" interchangeably because we have not located any
            authority that draws a distinction between these terms that
            is material for our purposes.  See, e.g., Black's Law
            Dictionary 772 (1990); Felix S. Cohen's Handbook of Federal
            Indian Law 35-36, 476 (Rennard Strickland et al. eds., 1982);
            Reid P. Chambers &amp; Monroe E. Price, Regulating Sovereignty: 
            Secretarial Discretion and the Leasing of Indian Lands, 26
            Stan. L. Rev. 1061, 1061 (1974) (referring to Indian lands
            delineated "restricted" in 25 U.S.C. S 415 as "Indian trust
            land"). 
                                        -17-
                                         17

            (1985); 
                   United 
                         States
                                
                                v. 
                                   Sam Pelican, 232 U.S. 442, 447 (1914);
            Joint 
                 Tribal 
                        Council of the Passamaquoddy Tribe v. Morton, 528
            F.2d 370, 379 (1st Cir. 1975).  Indian trust lands constitute
            real property the title  to which the United States holds  in
            trust for an  Indian tribe.   See 25 U.S.C.  S 465; Felix  S.
            Cohen's 
                   Handbook of Federal Indian Law 476 (Rennard Strickland
            et al. eds., 1982) [hereinafter Cohen's Handbook].  
                      Fee simple lands, by  contrast, are those lands  in
            which the  owner "is entitled  to the  entire property,  with
            unconditional power of disposition."  Black's Law  Dictionary
            615 
               (6th 
                    ed. 
                        1990).  Federal law recognizes that Indian tribes
            may hold certain lands in fee simple and that these lands may
            not 
               be 
                  subject to the trust relationship between Indian tribes
            and the  federal government.   See, e.g.,  25 U.S.C. S  1466.
            Specifically,
                         and pertinent to these appeals, the Maine Indian
            Claims Settlement Act, 25 U.S.C. SS 1721-1735, indicates that
            the Holden  Lot constitutes Indian  fee land  over which  the
            federal 
                   government 
                             does 
                                  not have a trust responsibility because
            the 
               Lot 
                   does 
                       not 
                           lie 
                               within designated PIN Territory.  In fact,
            Congress expressly disavowed trust responsibility for  Indian
            real 
                property encompassing the area in which the Holden Lot is
            situated.
                    11
                       
                        
                        Accordingly, we find that PIN held the Holden Lot
            11.  25 U.S.C. S 1724(d)(3) provides:  "Land or natural
            resources acquired outside the boundaries of [Penobscot
            Indian Territory] . . . shall be held in fee by the
            respective tribe or nation, and the United States shall have
            no further trust responsibility with respect thereto."  25
                                        -18-
                                         18

            in fee simple.  We now  consider the impact this fact has  on
            whether S 81 applies to the second Settlement Agreement.  
                      This 
                          inquiry 
                                  necessitates that we first consider the
            statute's text.   See United States  v. Gonzales, 117 S.  Ct.
            1032, 1034 (1997).   As previously noted,  S 81 states:   "No
            agreement 
                     shall 
                           be 
                             made 
                                  by any person with any tribe of Indians
            . . . for the payment or delivery of any money or other thing
            of 
              value, 
                     in 
                        present or in prospective, or for the granting or
            procuring  any privilege  to  him,  or any  other  person  in
            consideration of services for said Indians relative to  their
            lands 
                 . 
                   . 
                     . 
                      ." 
                          
                          The 
                              statute does not distinguish between Indian
            trust lands and  Indian fee lands; nor  does it refer to  all
            Indian lands.  In fact, S 81's scope is not clearly  defined.
            See Mark A.  Jarboe, Fundamental  Legal Principles  Affecting
            Business Transactions in Indian Country, 17 Harmline L.  Rev.
            417, 430 (1994); see also Stowell v. Secretary of Health  and
            Human  Servs., 3 F.3d  539, 542 (1st  Cir. 1993) ("Given  two
            plausible alternatives, and recognizing that the universe  of
            interpretive 
                        possibilitie
                                   s may extend beyond them, we think the
            U.S.C. S 1722(j) defines Penobscot Indian Territory as "those
            lands as defined in the Maine Implementing Act."  The Maine
            Implementing Act defines Penobscot Indian Territory as the
            Penobscot Indian Reservation and "[t]he first 150,000 acres
            of land acquired by the secretary for the benefit of the
            Penobscot Nation" as further defined in this section.  Me.
            Rev. Stat. Ann. tit. 30, S 6205(2)(B) (1993).  The Holden Lot
            does not fall within either the Penobscot Indian Reservation
            or the remaining area that S 6205(2)(B) designed as current
            or potential Penobscot Indian Territory. 
                                        -19-
                                         19

            statute contains an undeniable ambiguity.").
                      Section 81's  lack of  clarity and  its failure  t
                                                                Smith
                                                                        o
            define the phrase "Indian lands" requires us to determine the
            "ordinary or natural" meaning  of these terms.  See        v.
            United States, 508 U.S.  223, 228 (1993).  When Congress  has
            failed to  define statutory language,  the Supreme Court  has
            resorted  to authoritative  texts to  determine the  ordinary
            meaning of statutory language.  See id. at 229.  According to
            one  such text,  the term  "Indian lands"  refers to  "[r]eal
            property ceded to the U.S. by Indians, commonly to be held in
            trust 
                 for 
                     Indians." 
                               
                               Blac
                                   k's Law Dictionary 771 (6th ed. 1990).
            The definition of  Indian tribal or  trust land is  virtually
            identical:  "real propt 772.12
                      In the  context of S  81, the  phrase "relative  to
            [Indian] lands" is understood to refer to Indian trust lands.
            See Cohen's Handbook at 318 n.293 (explaining that "25 U.S.C.
            S 81[] prohibit[s]  contracts with  Indian tribes  concerning
            trust property unless approved by the Commissioner of  Indian
            affairs") (emphasis  added);  Patrick K.  Duffy and  Lois  A.
            12.  It is noteworthy that the phrase "Indian country" refers
            to "all lands set aside by whatever means for the residence
            of tribal Indians under federal protection, together with
            trust and restricted Indian allotments."  Cohen's Handbook at
            34; see also United States v. John, 437 U.S. 634, 648-50
            (1978).  The phrase "as Indian lands are held" is read
            "simply to state the United States will hold title in trust
            for the tribe."  Cohen's Handbook at 476.  These definitions
            would seem to indicate that "Indian country" and "Indian
            lands" encompass Indian trust lands but not Indian fee lands.
                                        -20-
                                         20

            Lofgren,  Jurassic  Farce:    A  Critical  Analysis  of   the
            Government's Seizure of "Sue," A  Sixty-Five-Million-Year-Old
            Tyrannosaurs 
                        Rex 
                           Fossil, 
                                   39 S. D. L. Rev. 478, 528 n.169 (1994)
            (indicating 
                       that 
                           pursuant to S 81, the Secretary "has oversight
            responsibility  for  approving  or  vetoing  the  terms   and
            conditions 
                      of 
                        all 
                            contracts involving Native American tribal or
            trust  property") (emphasis  added).   No authority  directly
            states  that  S  81 applies  to  Indian  fee lands.    It  is
            understood, 
                       however, 
                               that by adopting S 81 "Congress prohibited
            most contracts between  non-Indians and tribes  . . .  unless
            approved 
                    by 
                       the Secretary of the Interior and the Commissioner
            of Indian Affairs."  Cohen's Handbook at 143.  Thus, although
            it appears that S 81's "relative to [Indian] lands"  language
            connotes Indian trust lands rather than Indian fee lands,  we
            acknowledge that this interpretation is not iron-clad.
                      Recognizing that we cannot end our inquiry with the
            "ordinary" or  "natural" meaning of  the statute's terms,  we
            consider 
                    the 
                        relevant legislative history in an effort to give
            effect  to the  intentions of  the statute's  drafters.   See
            Griffin
                   
                   v. 
                      Oceanic 
                             Contra
                                   ctors, Inc., 458 U.S. 564, 571 (1982);
            United States ex rel. S. Prawer &amp; Co. v. Fleet Bank, 24  F.3d
            320,  327  (1st  Cir.  1994);  Federal  Election  Comm'n   v.
            Massachusetts Citizens for  Life, Inc., 769 F.2d 13, 17  (1st
            Cir. 1985),  aff'd, 479  U.S. 238  (1986).   This inquiry  is
            particularly 
                        appropriate in the context of federal Indian law.
                                        -21-
                                         21

            The Supreme Court has made it clear that "Indian law[] cannot
            be interpreted in isolation but must be read in light of  the
            common notions  of the day and  the assumptions of those  who
            drafted [such law]."  Oliphant v. Suquamish Indian Tribe, 435
            U.S. 
                191, 
                     206 
                        (1978); 
                                see
                                    also Central Machinery Co. v. Arizona
            State Tax Comm'n,  448 U.S. 160, 166 (1980) (explaining  that
            courts must  "interpret [certain  federal statutes  involving
            Indian tribes] .  . . in light  of the Congress that  enacted
            them").
                      Congress 
                              "intended 
                                       [S 
                                          81] to protect the Indians from
            improvident 
                       and unconscionable contracts."  In re Sanborn, 148
            U.S. 222,  227 (1893); see also  Cong. Globe, 41st Cong.,  3d
            Sess. 1483, 1483  (daily ed. Feb.  22, 1871) (declaring  that
            statute was for Indians' "protection and to prevent them from
            being plundered") (comments of Senator Davis).  Specifically,
            Congress adopted S 81 to protect Indian tribes and individual
            Indians 
                   from 
                       persons, 
                                particularly attorneys and claims agents,
            offering  dubious services,  typically the  assertion of  the
            Indians' land claims against the government, in exchange  for
            enormous fees.  See Cong. Globe, 41st Cong. at 1483-86.   One
            senator  indicated that  this section  "would prevent  . .  .
            contracts 
                     being made by [Indian tribes] unless approved by the
            Secretary 
                     of 
                       the 
                           Interior in any matter relating to the land or
            annuities  that they  hold under  or derive  from the  United
            States."   See Cong. Globe, 41st  Cong. at 1486 (comments  of
                                        -22-
                                         22

            Senator Harlan) (emphasis  added).  Another senator  declared
            that S 81 "is limited  to such agreements or services as  are
            made 
                or 
                  rendered 
                           relative to the lands of the Indians or to any
            claim against  annuities  from or  treaties with  the  United
            States." 
                     
                     Id.
                         (comments of Senator Casserly) (emphasis added).
                      Evidence 
                              of 
                                 the drafters' assumptions and intentions
            does little to resolve whether or not the phrase "relative to
            [Indian] lands" pertains to both Indian trust land and Indian
            fee lands,  or solely  to  the former.   The  two  statements
            addressing the application  of S 81 may be read  differently:
            Senator Harlan's description  may indicate  that the  statute
            applies solely  to lands  over which  the federal  government
            exercises   a  trust   responsibility;   Senator   Casserly's
            explanation may mean that the statute applies to Indian lands
            generally. 
                       
                       To reconcile this ambiguity, and thus to parse the
            ordinary meaning of S 81 at the time of its ratification,  we
            consider the understanding of the status of Indian lands that
            prevailed at the time Congress passed S 81.13  See  Oliphant,
            13.  Our determination to further consider the nature of
            Indian land ownership during this time in order to properly
            interpret the phrase "relative to [Indian] lands" would be
            appropriate even if we read Senator Harlan's statement in the
            disjunctive, rather than in the conjunctive as the sentence
            was recorded.  That is, if we read the phrase "relating to
            the land or annuities that they hold under or derive from the
            United States" so that the qualifying statement "that they
            hold under or derive from the United States" qualifies only
            the word "annuities" but not the words "the land," we still
            would have learned little more concerning the definition of
            "Indian lands."  Such a reading, though tortured, would
            resolve the ambiguity between the drafters' two statements
                                        -23-
                                         23

            435 U.S. at 206.
                      In 1872,  when Congress  passed S  81, federal  law
            provided that Indian tribes enjoyed the right to possess  and
            occupy  lands but  not to  alienate these  lands without  the
            federal government's approval.   See Johnson v. M'Intosh,  21
            U.S. 
                (8 
                   Wheat.) 543, 574 (1823) (indicating that United States
            possessed 
                     title 
                           to 
                             all 
                                 Indian lands "subject only to the Indian
            right 
                 of 
                   occupancy"); 
                                Uni
                                   ted States v. Cook, 86 U.S. (19 Wall.)
            591, 
                592-94 
                       (1873) (explaining that Indians enjoyed only right
            of occupancy  in Indian lands  and that "the  fee was in  the
            United States"); David H.  Getches and Charles F.  Wilkinson,
            Federal Indian  Law 161 (1986)  ("The United  States had  the
            exclusive  right to  purchase or  extinguish Indian  title.")
            [hereinafter  Federal  Indian   Law].    Memorializing   this
            conception of Indian  real property rights, Congress  adopted
            general, comprehensive legislation  addressing the rights  of
            Indian tribes with  respect to their  lands during this  era.
            See
              , 
                e.g.
                    , 
                     Nonintercourse
                                    Act of 1834, R.S. S 2116 (codified as
            25 
              U.S.C. 
                     S 
                      177) 
                           (prohibiting "purchase, grant, lease, or other
            conveyance 
                      of 
                        lands
                             , 
                               or 
                                  of any title or claim thereto, from any
            Indian  nation or  tribe  of  Indians")  (emphasis  added).14
            and would tend to point to a broader definition of the terms
            "Indian lands," but it would not dispose of our inquiry into
            the meaning of the phrase "relative to [Indian] lands."
            14.  It was not until the legal relationship between Indian
            tribes and the federal government evolved dramatically in the
            twentieth century that legislation regulating Indian tribes'
                                        -24-
                                         24

            Congress did not distinguish  between Indian trust lands  and
            Indian fee lands at  this time presumably because it did  not
            contemplate that Indian tribes could hold land in fee simple.
                      During this time, however, Congress did provide for
            individual Indians to hold land in fee simple.  See 25 U.S.C.
            SS 348-349 (1887).  The allotment process that these statutes
            authorized permitted the  Secretary to transfer certain  real
            property to individual Indians.  Typically, the United States
            would hold such lands in trust for the designated individuals
            for a period of twenty-five years.  See Sam Pelican, 232 U.S.
            at 447.  The Secretary, at his discretion, could "cause to be
            issued 
                  to 
                     such allottee a patent in fee simple, and thereafter
            all restrictions as to sale, incumbrance, or taxation of said
            land shall  be removed."   25 U.S.C.  S 349.   Despite  these
            statutes'  provision  for  individual  Indians'  fee   simple
            ownership of real property, we have unearthed no  legislation
            real property routinely distinguished between restricted and
            unrestricted tribal lands.  See, e.g., 28 U.S.C. S 1360(b)
            (1953) (referring specifically to the "alienation,
            encumbrance, or taxation of any real or personal property . .
            . that is held in trust by the United States or is subject to
            a restriction against alienation imposed by the United
            States"); 25 U.S.C. S 415 (1955) (referring specifically to
            "restricted Indian lands").  Modern statutes routinely
            distinguish between Indian trust lands and Indian fee lands. 
            See, e.g., 25 U.S.C. S 1724(d)(3) (1980) (distinguishing
            between Indian trust lands and Indian fee lands, and
            indicating that the United States does not have "trust
            responsibility" with respect to the latter); 25 U.S.C. S 1466
            (1974) (indicating that Indian tribes can purchase real
            property "without any restriction on alienation, control, or
            use").
                                        -25-
                                         25

            enacted 
                   during 
                          this 
                              time 
                                   that afforded similar rights to Indian
            tribes.  See Cohen's Handbook at 36 &amp; n.78.
                      Interpreting S 81  and its  legislative history  in
            light of  the  understandings and  assumptions of  those  who
            drafted it, see Oliphant, 435 U.S. at 206, thus supports  the
            conclusion 
                      that S 81 does not pertain to the Holden Lot.  When
            Congress passed S 81  it did not envision that Indian  tribes
            could hold land in the  manner that PIN held the Holden  Lot.
            Cf. Cohen's Handbook at  127-43 (concluding that during  this
            time 
                "extensive government supervisory power over the everyday
            life of  Indians was essentially  unchecked").  It  therefore
            would  seem  anomalous, in  endeavoring  to  give  effect  to
            Congress' intent, to apply S 81 to lands PIN purchased in fee
            simple for investment purposes.
                      Admittedly, the broad remedial purposes that S 81's
            drafters  attributed  to  the  statute  may  complicate  this
            analysis.   Congress desired  to protect  Indian tribes  from
            unscrupulous 
                        business practices, see Cong. Globe 41st Cong. at
            1485-86, and enjoyed  the sole right  to encumber all  Indian
            lands, see Oneida Indian Nation v. County of Oneida, 414 U.S.
            661, 
                667 
                    (1974) ("Once the United States was organized and the
            Constitution 
                        adopted 
                                . 
                                 . 
                                   . tribal rights to Indian lands became
            the exclusive  province of the  federal law.   Indian  title,
            recognized 
                      to be only a right of occupancy, was extinguishable
            only  by  the  United States.").    It  may  seem  plausible,
                                        -26-
                                         26

            therefore, that S 81 should apply to agreements for  services
            relative 
                    to 
                       all 
                          Indian 
                                 lands.  Congress, moreover, occasionally
            did 
               authorize individual Indians to hold designated parcels of
            real property  in  fee  simple, and,  therefore,  could  have
            exempted these fee simple lands from S 81's purview if it did
            not 
               want 
                    S 
                      81 to apply to Indian fee lands.  To our knowledge,
            Congress has adopted  no such exemption.   Our analysis  thus
            illustrates  that  although   S  81's  legislative   history,
            considered 
                      in light of the status of federal Indian law during
            the 
               middle 
                      of the nineteenth century, points to the conclusion
            that S 81  does not apply  to Indian fee  lands, it does  not
            provide a clear answer to the issue we face today.
                      Having 
                            failed 
                                   to 
                                     arrive 
                                            at a definitive answer to our
            inquiry  through  reference  to  S  81's  plain  meaning  and
            legislative history, we turn to analyze the interpretation of
            the agency  responsible for administering  the statute.   See
            Chevron U.S.A., Inc.  v. Natural  Resources Defense  Council,
            Inc.
               , 
                 467 
                     U.S. 
                         837, 
                              843 
                                  (1984).  Although we have not unearthed
            a general interpretation of S 81 advanced by the Secretary of
            the  Interior,  in  this  case  the  parties  submitted   the
            Partnership Agreement for the Secretary's approval.  The Area
                                        -27-
                                         27

            Director of the Eastern  Area Office of the Bureau of  India
                      stated:
                                                                        n
            Affairs15
                      The  Secretary has  determined  that  the
                      Agreement does not encumber trust land or
                      other trust assets, that the Agreement is
                      not 
                         subject 
                                 to the provisions of 25 U.S.C.
                      S 81 (1982), and  that, as a result,  the
                      Nation has contractual capacity to  enter
                      into this  Agreement  without  additional
                      Secretarial approval.
            Declaration of B. D. Ott, Area Director, Eastern Area Office,
            Bureau of Indian Affairs (December 31, 1986).
                      This declaration  illustrates that  in  determining
            whether or not an agreement with an Indian tribe falls within
            the 
               parameters 
                          of 
                            S 
                              81, 
                                  the Secretary focuses on whether or not
            the agreement relates to  Indian trust lands or assets.   See
            also B arona Group  of the  Capitan Grande  Bande of  Mission
            Indians v.  American Management &amp;  Amusement, Inc., 840  F.2d
            1394, 1404-05 (9th Cir. 1987) (quoting Acting  Superintendent
            for  Southern California  Bureau  of  Indian  Affairs  office
            explaining that S 81 does not apply if "trust lands and funds
            are  not involved").   In  this case,  the second  Settlement
            Agreement did  not  involve  Indian trust  lands  or  assets.
            Although the administrative agency's interpretation does  not
            15.  The Secretary of the Interior's duties pursuant to the
            text of S 81 subsequently have been delegated to the
            appropriate Area Director of the Bureau of Indian Affairs. 
            See Reorganization Plan No. 3 of 1950, 5 U.S.C. S 903(a)(5) &amp;
            note; Order of the Secretary of the Interior, Nos. 3150 &amp;
            3177, Amend. No. 3 (Dec. 16, 1996); 10 B.I.A.M. Bulletins 13,
            9409, &amp; 9602.
                                        -28-
                                         28

            function 
                    to 
                      conclusively 
                                   resolve our evaluation of whether S 81
            pertains to the second  Settlement Agreement, see Stowell,  3
            F.3d at 544; American  Management, 840 F.2d at 1405, we  must
            afford 
                  it 
                     considerable deference, see Chevron U.S.A., 467 U.S.
            at 843;  Strickland  v. Commissioner,  Maine Dep't  of  Human
            Servs., 96 F.3d 542, 547 (1st Cir. 1996).
                      Judicial interpretation  of S  81 provides  further
            guidance. 
                      
                      See
                         
                         Securities
                                    Indus. Ass'n v. Board of Governors of
            Fed. Reserve Sys., 839 F.2d 47, 49 (2d Cir. 1988) (explaining
            that in determining reasonableness of administrative agency's
            interpretation of  statute,  court should  consider  judicial
            construction)
                        .  Courts generally have focused on the existence
            of 
              Indian 
                     trust 
                          land 
                               in 
                                  evaluating S 81's "relative to [Indian]
            lands" 
                  component.  In Koberstein, 762 F.2d at 619, the Seventh
            Circuit  explicitly stated  that  S  81 applied  to  a  bingo
            management agreement  because "S  81 applies  to Indian  land
            transactions 
                        concerning 
                                  their tribal trust property." (emphasis
            added).  See also Pueblo of  Santa Ana, 663 F. Supp. at  1306
            (finding S 81 applicable to agreement because it provided for
            construction  and operation  of  facility  on  "tribal  trust
            property") (emphasis  added); Enterprise  Management, 734  F.
            Supp. 
                 at 
                    457 
                       (voiding 
                                bingo management agreement providing non-
            Indian party exclusive right to operate bingo games on Indian
            trust lands  because this agreement  was "relative to  Indian
            lands and . . . thus governed by section 81").
                                        -29-
                                         29

                      The Ninth Circuit in particular has manifested  the
            importance 
                      that 
                          the 
                              presence of Indian trust lands plays in the
            "relative 
                     to 
                        [Indian] lands" analysis.  In A.K. Management Co.
            v. San Manuel Band of Mission Indians, 789 F.2d 785, 786 (9th
            Cir. 1986), the Ninth Circuit considered the applicability of
            S 
             81 
                to 
                  a 
                    bingo 
                          management contract that the San Manuel Band of
            Mission  Indians executed  with a  bingo management  company.
            Upholding the district court's grant of summary judgment, the
            court 
                 held 
                      "that 
                           the 
                               instant Agreement is 'relative to [Indian]
            lands' under 25 U.S.C. S 81."  Id. at 787.  In  reaching this
            conclusion, the court reasoned that "the Agreement gives  the
            non-Indian contracting party . . . the express right to build
            and control the  operation of the  bingo facility located  on
            tribal 
                  trust 
                        lands and prohibits the Band from encumbering the
            land."  Id. (emphasis added).
                      One year later, in American Management, 840 F.2d at
            1404, the  Ninth  Circuit again  determined that  a  contract
            between an  Indian tribe  and a  non-Indian bingo  management
            company 
                   providing 
                            for 
                                the construction and operation of a bingo
            facility on  Indian trust  lands was  "'relative to  [Indian]
            lands' under section 81."  The court specifically stated that
            it 
              reached 
                      this conclusion despite the fact that the agreement
            neither afforded the non-Indian party exclusive control  over
            the 
               bingo 
                     facility 
                             nor 
                                 abridged the tribe's ability to encumber
            its trust lands.  See id.  The fact that the non-Indian party
                                        -30-
                                         30

            exercised  some control  over  Indian  trust  lands,  however
            minimal, proved decisive  to the American Management  court's
            analysis. 
                      
                      See
                         
                         id.
                            ; 
                              see
                                  
                                  a
                                   lso United States ex rel Yellowtail v.
            Little Horn State Bank, 828 F. Supp. 780, 787 (D. Mont. 1992)
            ("The only interest the government has in overseeing  certain
            contracts and agreements with Indians flows from its duty  as
            trustee  of  tribal  resources.  . .  .  The  nature  of  the
            government's  interest is  in  the  Tribe's  trust  resources
            'relative 
                     to 
                       the 
                           land.'"), aff'd, 15 F.3d 1095 (9th Cir. 1994).
                      The  most   recent   circuit  court   decision   to
            specifically 
                        address 
                               the 
                                   "relative to [Indian] lands" component
            of S  81,  Altheimer &amp;  Gray, 983  F.2d at  808-12, offers  a
            slightly  different  construct  that  further  supports   the
            conclusion 
                      that 
                          the 
                              second Settlement Agreement in this case is
            not  "relative  to [Indian]  lands."    The  Altheimer  court
            considered a  Letter of  Intent that  a federally  recognized
            Indian 
                  tribe, 
                         in 
                           the 
                               form of a wholly owned tribal corporation,
            executed  with an  Illinois  corporation  providing  for  the
            manufacture of latex medical products on tribal trust  lands.
            See id . at  806-07.   Although manufacture  of the  products
            actually 
                    commenced, 
                              the 
                                  parties failed to execute the necessary
            contracts. 
                       
                       Operations thus ceased shortly after commencement.
            The 
               Illinois 
                       corporation 
                                   sued the tribal corporation for breach
            of contract.  The  district court found the Letter of  Intent
            void  pursuant to S  81 and granted  summary judgment to  the
                                        -31-
                                         31

            tribal    corporation.        See    id.    at   806-07.     
                      The 
                         Seventh 
                                Circuit 
                                        reversed the district court.  See
            id
             . 
               at 
                  815. 
                        
                       In 
                          so 
                             doing, the court set forth four factors that
            it considered  determinative of whether  or not a  management
            contract is "relative to [Indian] lands" pursuant to S 81: 
                      1)  Does the contract relate to the management 
                      of a facility to be located on Indian lands?  
                      2)  If so, does the non-Indian party have the 
                      exclusive right to operate that facility?  
                      3)  Are the Indians forbidden from encumbering 
                      the property?  4)  Does the operation of the 
                      facility depend on the legal status of an Indian 
                      tribe being a separate sovereign?
            Id.  at 811.   Despite  the fact  that the  Letter of  Intent
            involved 
                    the 
                       operation 
                                 of a facility on Indian trust lands, the
            Altheimer
                     
                     court found that it was not relative to Indian lands
            and thus not within the purview of S 81.  The Seventh Circuit
            emphasized the fact that the non-Indian contracting party did
            not  have exclusive  control of  the facility  and that  "the
            business derived  no  special benefit  from its  location  on
            Reservation land."  Id. at 812.
                      Considering the present case in light of  Altheimer
            compels 
                   two 
                      initial 
                              observations.  First, the second Settlement
            Agreement obviously did not constitute a management contract.
            Second, importing the precise considerations pertinent to  an
            evaluation  of a  management contract  to an  analysis of  an
            agreement  to assist  in locating  a purchaser  for land  may
            present 
                   certain difficulties.  See id. at 811 (indicating that
                                        -32-
                                         32

            the 
               four 
                    factors that it set forth "are not the 'sine qua non'
            of a contract which relates to Indian lands").
                      Despite 
                             its 
                                 distinguishing characteristics, however,
            Altheimer
                     
                     informs our analysis of PIN's appeal.  Specifically,
            the 
               Altheimer
                         court refused to find the agreement "relative to
            [Indian] lands" in part because the Indian tribe in Altheimer
            remained 
                    involved in the business relationship.  In this case,
            PIN  participated  in  the  Partnership,  not  through  daily
            management 
                      duties, 
                             but 
                                 through financing and leasing activities
            promoting  Schiavi   Homes'   business  activities.      More
            importantly, Altheimer emphasized  the fact that the  subject
            matter of the  contract derived no  special benefit from  the
            Indian  tribe's sovereign  status.   See  id.  at 812.    The
            Altheimer court explained:   "Unlike bingo, manufacturers  of
            latex medical products need not seek refuge from state  civil
            laws by locating on a reservation."   Id.  In this case,  the
            parties to the second Settlement Agreement derived no special
            benefit from PIN's sovereign status.16
                      Notwithstanding the fact  that Altheimer, like  the
            other cases we have considered, supports the conclusion  that
            16.  We note that when the land at issue constitutes Indian
            fee land it is difficult for the subject matter of the
            contract to derive a special benefit from the Indian tribe's
            sovereignty because Indian tribes do not have the same powers
            and privileges with respect to Indian fee lands that they do
            in the context of Indian trust lands.  See Narragansett
            Indian Tribe v. RIBO, Inc., 686 F. Supp. 48, 50 (D.R.I.
            1988), aff'd on other grounds, 868 F.2d 5 (1st Cir. 1989);
            Cohen's Handbook at 232-57.
                                        -33-
                                         33

            the second  Settlement  Agreement does  not fall  within  the
            purview of S 81, we consider one additional case in which the
            district court for the district of Rhode Island interpreted S
            81's  "relative  to   [Indian]  lands"   requirement.     See
            Narragansett Indian Tribe v. RIBO, Inc., 686 F. Supp. 48,  51
            (D.R.I. 1988), aff'd on  other grounds, 868 F.2d 5 (1st  Cir.
            1989). 
                   
                   The 
                       N
                        arragansett court considered S 81's applicability
            to 
              two 
                  management agreements "contemplating acquisition by the
            Tribe of property on which a high stakes bingo hall could  be
            constructed."   See id.  at 49.   Following execution of  the
            agreements, the Tribe purchased a total of 28.8 acres of land
            adjacent to  the Tribe's reservation.   See id.  at 50.   The
            Tribe, however, failed to secure trust status for this  land.
            See id.
                      The 
                         Narragans
                                  ett defendants specifically argued that
            "S 81 pertained only to 'tribal  land' . . . [that is,]  land
            that is part of the Tribe's reservation."  Id.  The  district
            court rejected this argument, reasoning:
                      [S]uch a  construction  proves to  be  at
                      variance with both the plain language  of
                      the statute and  with its broad  remedial
                      purpose.  Thus the statute uses the  term
                      'their  [the  Indians']  lands'   without
                      differentiating between  original  tribal
                      lands and  those  subsequently  acquired.
                      Reading into  those words the  limitation
                      urged by  Defendants would distort  their
                      plain meaning.   Moreover, it also  would
                      emasculate the statute and frustrate  its
                      purpose  of  providing  a  mechanism   to
                      regulate Indian land transactions.
                                        -34-
                                         34

            Id.
               
                
                Although the Narragansett court recognized that S 81 "has
            its origin in the longstanding trust relationship between the
            federal 
                   government and Indian tribes," id. at 50, it held that
            "S 81 renders both the agreements and the notes and mortgages
            given by  the Tribe in accordance  with their terms null  and
            void."  Id. at 51.
                      We   find  the   Narragansett   court's   reasoning
            unpersuasive.    The   construction  that  the   Narragansett
            defendants  advanced, we  believe,  comports with  the  plain
            language of the statute.  If S 81 is predicated on the  trust
            relationship between the  federal government  and the  Indian
            tribes, see  id.; United States ex  rel. Hall v. Tribal  Dev.
            Corp.
                , 
                  49 
                    F.3d 
                         1208, 
                               1214 (7th Cir. 1995), then reading S 81 to
            apply to Indian  lands purchased in  fee simple for  business
            reasons contradicts the  statute's purpose and its  drafters'
            intentions.  Even  those courts that have propounded a  broad
            reading of  S 81's  "relative to  [Indian] lands"  component,
            moreover, 
                     have not found that this phrase refers to Indian fee
            lands.  See, e.g., Koberstein, 762 F.2d at 619; United States
            ex rel Shakopee v. Pan American Mgmt. Co., 616 F. Supp. 1200,
            1217-18  (D.  Minn.  1985)  (finding  that  "the   management
            agreements [were] . . . inextricably tied up in the  property
            rights flowing from the establishment of the bingo operations
            on 
              tribal 
                     trust 
                          lands") 
                                  (emphasis added).  We thus find that to
            the extent Narragansett can  be read to hold that Indian  fee
                                        -35-
                                         35

            lands purchased for investment purposes and not designated as
            trust 
                 lands 
                       qualify as "Indian lands" under S 81, that holding
            is not compelling.
                      To 
                        reach 
                              a 
                               different 
                                         conclusion in the context of the
            Holden  Lot would defy  common sense.   See United States  v.
            Carroll, 105 F.3d 740, 744 (1st Cir. 1997) (instructing  that
            common sense construction  that "avoid[s] absurd or  counter-
            intuitive results" is favored); O'Connell v. Shalala, 79 F.3d
            170, 
                176 
                    (1st Cir. 1996) (explaining that "courts are bound to
            afford statutes a practical, common-sense reading").  Were we
            to hold  that the  second Settlement  Agreement required  the
                        pproval pursuant to S 81 despite the fact that it
                              17
            Secretary's 
                       a
            relates only  to  Indian  fee lands  purchased  for  business
            reasons, we  would force the  Secretary to  exercise a  trust
            responsibility  with respect  to  lands over  which  Congress
            specifically 
                        disavowed any further trust obligation.18  See 25
            17.  Perhaps recognizing the Narragansett decision as an
            anomaly, at least one circuit court has interpreted
            Narragansett as "simply hold[ing] that bingo management
            agreements involve services within the meaning of [S 81]." 
            Bacon, 21 F.3d at 212.
            18.  We recognize that the Supreme Court determined that the
            Nonintercourse Act, 25 U.S.C. S 177, applied to land that the
            Pueblo Indian tribes of New Mexico held in fee simple.  See
            United States v. Candelaria, 271 U.S. 432, 440-44 (1926); see
            also United States v. Sandoval, 231 U.S. 28, 45-48 (1913)
            (finding that Congress could restrict the alienation of land
            that New Mexico Pueblo Indians held in fee simple).  The
            Pueblo Indians at issue in Candelaria and Sandoval held their
            lands in fee simple under both Spanish and Mexican law before
            the United States gained control over New Mexico.  See
            Candelaria, 271 U.S. at 442; Sandoval, 231 U.S. at 44-45. 
                                        -36-
                                         36

            U.S.C. S 1724(d)(3);  25 U.S.C. 1722(j); Me. Rev. Stat.  Ann.
            lands.  
            tit. 30, S 6205(2)(B) (1993).
                      In the Maine Indian Claims Settlement Act, Congress
            not only disavowed further trust responsibility over the area
            First the Spanish and then the Mexican authorities, however,
                        Candelaria                   Sandoval, 231 U.S.
            at 44-45.  We believe that the situation in this case, in
            which PIN purchased land in fee simple for investment
                                                              Candelaria
                    See
            retained the authority to restrict the alienation of these
                                  , 271 U.S. at 442; 
            purposes, differs substantially from that in both 
            and Sandoval, in which the tribes held their ancestral tribal
            lands in a modified version of fee simple under Spanish and
            Mexican rule.       We note, however, that several courts,
            relying on Candelaria and Sandoval, have found S 177
            applicable to lands that other Indian tribes have purchased
            in fee simple.  See Alonzo v. United States, 249 F.2d 189,
            196 (10th Cir. 1957); United States v. 7,405.3 Acres of Land,
            97 F.2d 417, 422 (4th Cir. 1938).  Given Alonzo's paucity of
            analysis and outdated paternalism (the court adopted the
            notion that Indians are "'a simple, uninformed people, ill-
            prepared to cope with the intelligence and greed of other
            races,'" see id. (quoting Candelaria, 271 U.S. at 442)), we
            do not find this decision persuasive.  This conclusion
            applies equally to 7,405.3 Acres of Land.    
                      The situation in this case, moreover, differs
            substantially from that in Alonzo and 7,405.3 Acres of Land. 
            As opposed to the land in question in those cases, Congress
            disavowed trust responsibility over the land encompassing the
            Holden Lot.  See 25 U.S.C. S 1724(d)(3).  In Lummi Indian
            Tribe v. Whatcom County, 5 F.3d 1355, 1359 (9th Cir. 1993),
            the Ninth Circuit took issue with Alonzo and 7,405.3 Acres of
            Land and ruled that "parcels of land approved for alienation
            by the federal government and then reacquired by the Tribe
            did not then become inalienable by operation of the
            Nonintercourse Act."  See also Federal Power Comm'n v.
            Tuscarora Indian Nation, 362 U.S. 99, 110-15 (1960)
            (determining that lands that Indian tribe purchased in fee
            simple were not subject to federal oversight pursuant to
            Federal Power Act, 16 U.S.C. S 797(e), because United States
            neither owned these lands nor owned an interest in these
            lands).  The lands at issue in Lummi Indian Nation and
            Tuscarora Indian Nation were similar to the Holden Lot in
            that the tribes purchased these lands in fee simple.  See
            Lummi Indian Tribe, 5 F.3d at 1357; Tuscarora Indian Nation,
            362 U.S. at 105-06. 
                                        -37-
                                         37

            encompassing the  Holden Lot,  it expressly  stated that  the
            p
                as its  source the Nonintercourse  Act, meaning that  th
            trust relationship pertains to land transactions which are or
                                         Passamaquoddy Tribe
            N
            See 25 U.S.C. S  1724(g)(1).  This is significant because  we
             reviously 
                      have indicated that "the 'trust relationship' . . .
            has                                                         e
            may be covered by the Act."                     , 528 F.2d at
            379. 
                 
                 Because 
                        the 
                            Nonintercourse Act no longer pertains to PIN,
            Passamaquoddy Tribe dictates that the federal government does
            not have a trust  obligation with respect to the Holden  Lot.
            See                                        Imposing  such   
             onintercours
                        e Act, 25 U.S.C. S 177, no longer applied to PIN.
                
                 also  25  U.S.C.  S  1724(d)(3).19                     a
            responsibility pursuant to  S 81 would  defy not only  common
            19.  Key Bank urges us to rule that the Maine Indian Claims
            Settlement Act, 25 U.S.C. SS 1721-1735, implicitly repealed S
            81 with respect to PIN generally.  Although S 1724 provides
            that several statutes, including 25 U.S.C. S 177, no longer
            apply to PIN, it makes no mention of S 81.  If Congress
            desired to repeal completely S 81 with respect to all PIN
            real property it could easily have done so, as it did with S
            177.  Cf. Bailey v. United States, 116 S. Ct. 501, 507 (1995)
            (specifying that if Congress desired to alter a statute it
            specifically would have done so); Russello v. United States,
            464 U.S. 16, 23 (1983) ("'[W]here Congress includes
            particular language in one section of a statute but omits it
            in another section of the same Act, it is generally presumed
            that Congress acts intentionally and purposely in the
            disparate inclusion or exclusion.'") (quoting United States
            v. Wong Kim Bo, 472 F.2d 720, 722 (5th Cir. 1972)); Hirschey
            v. F.E.R.C., 760 F.2d 305, 308 (D.C. Cir. 1985) (indicating
            that Congress understands how to effect such results); see
            also Altheimer, 983 F.2d at 805 (explaining that Congress has
            neither explicitly nor implicitly overruled S 81).  We thus
            do not find that the Maine Indian Claims Settlement Act
            implicitly repealed S 81 with respect to all PIN land.
                                        -38-
                                         38

            sense but logic as well.20                         v. 
                  ,
                                        See Lummi Indian Tribe    Whatcom
            County   5 F.3d  1355,  1359  (9th Cir.  1993)  (ruling  that
            Nonintercourse 
                          Act 
                             did 
                                 not apply to land Indian tribe purchased
            in fee simple over  which Congress previously terminated  its
            trust 
                 obligation); 
                             cf.
                                 
                                 Fe
                                   deral Power Comm'n v. Tuscarora Indian
            Nation, 362  U.S.  99, 110-15  (1960) (finding  that  federal
            government  did not  own an  interest in  lands Indian  tribe
            purchased in fee simple).
                      Applying  S  81  to  the  Holden  Lot  also   would
            necessitate that almost every agreement for services executed
            with an  Indian tribe, no  matter how  minute, would  require
            Secretarial approval.  See In re United States ex rel.  Hall,
            825 
               F. 
                  Supp. 
                       1422, 
                             1434 
                                  (D. Minn. 1993) (discussing undesirable
            implications of such an  interpretation), aff'd, 27 F.3d  572
            (8th 
                Cir. 
                     1994), 
                           cert.
                                 
                                 de
                                   nied, 115 S. Ct. 1112 (1995); see also
            Raymond  Cross,  De-Federalizing  American  Indian  Commerce:
            Toward 
                  a 
                    New 
                        Political Economy for Indian Country, 16 Harv. J.
            L. &amp;  Pub. Pol'y  445, 489  (1993) (indicating  that even  as
            presently interpreted, "[e]xperience has shown . . . that  in
            many cases  . .  . [S 81]  harms, rather  than helps,  Indian
            20.  The fact that Congress explicitly determined that the
            Nonintercourse Act does not apply to PIN further
            distinguishes this case from the cases in which courts have
            interposed a trust obligation in regard to real property that
            Indian tribes have purchased in fee simple.  See Alonzo, 249
            F.2d at 196; 7,405.3 Acres of Land, 97 F.2d at 422-23. 
            Congress never stated that the Nonintercourse Act did not
            apply to the real property at issue in Alonzo or 7,404.3
            Acres of Land.
                                        -39-
                                         39

            tribes.   Its  rigid formalism  and over-inclusiveness  chill
            business dealings between  tribes and  third parties  without
            providing 
                     substantial offsetting benefits.").  We believe that
            further 
                   extending administrative authority over the Holden Lot
            would neither favor, see Montana v. Blackfeet Tribe, 471 U.S.
            759, 766 (1985), nor protect, see In re Sanborn, 148 U.S.  at
            227, Indian tribes.   In fact, adopting PIN's  interpretation
            would frustrate Indian  tribes' efforts  to promote  economic
            development and fiscal autonomy.  
                      This analysis reflects the modern trend in  federal
            Indian 
                  policy away from outmoded paternalistic21 practices and
            policies. 
                      
                      Se
                        e Cohen's Handbook at 180-206; Federal Indian Law
            at 
              151-59. 
                       
                       Particularly during the last forty years, Congress
            has endeavored to afford Indian tribes the latitude to pursue
            their social, political, and economic goals as they determine
            appropriate.  See,  e.g., 25 U.S.C.  S 450 (proclaiming  that
            "prolonged 
                      Federal 
                             domination . . . has served to retard rather
            than  enhance  the  progress  of  Indian  people  and   their
            communities by depriving Indians  of the full opportunity  to
            develop leadership skills crucial to the realization of  self
            government");
                         25 U.S.C. S 450a (declaring Congress' commitment
            21.  One proponent of S 81 described the statute as follows: 
            "If it is enacted and becomes part of the law it will be the
            best shield, the best protection, and the best security for
            the rights and the helplessness of these sons of the forest
            that has ever been devised by American legislation or
            American humanity."  Cong. Globe 41st Cong., 3d Sess. 1483,
            1484 (daily ed. Feb. 22, 1871) (comments of Senator Davis).
                                        -40-
                                         40

            to 
              "the 
                   establishment 
                                of 
                                   a meaningful Indian self-determination
            policy"); 
                     Blatchford
                               
                               v. 
                                  N
                                   ative Village of Noatak, 501 U.S. 775,
            793 
               (1991) 
                     (Blackmun, 
                                J., dissenting) (noting that Congress has
            passed legislation  in recent decades  "as part  of a  larger
            national 
                    policy 
                          of 
                             'self-determination' for the Native American
            peoples"). 
                       
                       To 
                          find 
                              S 
                                81 
                                   applicable to a tract of real property
            that  PIN purchased  in fee  simple to  promote its  business
            interests would contravene  modern efforts  to secure  tribal
            self-determination.
                      In 
                        light 
                              of 
                                these 
                                      policy 
                                             considerations, the dictates
            of common sense, the vast majority of S 81 jurisprudence, and
            the Secretary's interpretation,  we conclude that the  second
            Settlement 
                      Agreement does not qualify as "relative to [Indian]
            lands." 
                    
                    This Agreement did not pertain to Indian trust lands.
            In fact, the second  Settlement Agreement involved lands  PIN
            purchased in fee simple to promote its investment  objectives
            over which Congress expressly disavowed trust responsibility.
            To  rule that  this  Agreement necessitated  the  Secretary's
            approval  pursuant to  S 81,  we conclude,  would strain  the
            statute's 
                     ordinary 
                             meaning and exceed its drafters' intentions.
                      We recognize that statutes affecting Indian  tribes
            must be  construed liberally  in favor  of the  tribes.   See
            Blackfeet  Tribe, 471  U.S.  at 766.    The rule  recited  in
            Blackfeet Tribe, however, does not require a court to  ignore
            compelling authority supporting a conclusion contrary to  the
                                        -41-
                                         41

            position 
                    that a particular Indian tribe advances.  See Lyng v.
            Northwest Indian Protective Ass'n, 485 U.S. 439, 456  (1988).
            We therefore hold that the Settlement Agreements did not fall
            within 
                  the 
                      parameters 
                                of 
                                   S 81, and thus that the two Settlement
            Agreements constituted valid, binding releases that  preclude
            PIN from further pursuing its remaining claims.
                      2.  Underlying Agreements
                      Despite the  fact that S 81  does not apply to  the
            Settlement 
                      Agreements, and thus that the Settlement Agreements
            function to release PIN's  remaining claims, we must  briefly
            consider whether S 81 applies to the underlying agreements at
            issue 
                 in 
                    this case.  We pursue this inquiry to deter potential
            abuse 
                 stemming from the execution of a settlement agreement in
            the context  of S  81.   We are  particularly concerned  that
            parties to an agreement for services relative to Indian trust
            lands may seek to avoid securing Secretarial approval of such
            agreement  pursuant to S  81 by executing  a relet that  this
            release did not constitute an agreement with an Indian  tribe
            for services relative  to Indian lands, and that the  release
            functions to prohibit any action that a party to the  release
            initiates  subsequently  to  void  the  underlying  agreement
            pursuant 
                    to 
                       S 
                        81.22
                              
                               
                               To 
                                  avoid creating a potential safe harbor,
            22.  Even if such a release did preclude a party's action to
            invalidate the underlying agreement pursuant to S 81, as in
            the instant case, S 81's qui tam provision would permit
            another party to bring suit in the name of the United States
            to invalidate the underlying agreements if these underlying
                                        -42-
                                         42

            we evaluate the three underlying agreements at issue in  this
            case  to  determine whether  or  not  they  necessitated  the
            Secretary's approval pursuant to S 81.
                           a.  Asset Purchase Agreement
                      The  Asset  Purchase  Agreement23  constituted  the
            operative agreement relating to the Partnership's purchase of
            SHC. 
                 
                 This 
                     Agreement 
                               was 
                                   a pure sales contract.  Without regard
            to whether  S  81's "services"  component pertains  to  sales
            contracts, see Menominee Tribe, 233 U.S. at 570-71 (finding S
            81 applicable to  contract for sale of logging equipment  and
            supplies); but see Hall, 825 F. Supp. at 1431-32 (ruling that
            "Congress  did  not  intend  that  section  81  govern  sales
            contracts"),  the  only  real  property  that  the  Agreement
            mentioned was real property that the seller, SHC,  possessed,
            not land that an Indian tribe, specifically PIN, owned.  This
            Agreement 
                     simply 
                           stipulated that the Partnership secured a $3.5
            agreements did not bear the Secretary's approval.  See Tribal
            Development, 49 F.3d at 1212; United States ex rel. Yankton
            Sioux Tribe v. Gambler's Supply, Inc. 925 F. Supp. 658, 668-
            69 (D.S.D. 1996).
            23.  PIN refers both to the Asset Purchase Agreement and to
            "associated contracts and documentation" as being void ab
            initio pursuant to S 81.  The Partnership executed a Non-
            Competition and Consulting Agreement with John Schiavi on
            December 30, 1996.  Although this Agreement did provide for
            services, in the form of consulting duties, it never
            mentioned and did not relate to any Indian lands.  The non-
            competition agreements that the Partnership executed with CWC
            similarly did not pertain to any Indian lands.  Section 81,
            therefore, does not apply to these "associated contracts and
            documentation."
                                        -43-
                                         43

            million 
                   guaranteed loan from Key Bank; it neither required nor
            referred 
                    to 
                       PIN's use of its land as collateral for this loan.
                           b.  Partnership Agreement
                      We 
                        find 
                             that 
                                 the 
                                     Partnership Agreement did constitute
            a 
             services 
                     agreement 
                               because it contained a provision dictating
            that 
                Palmer 
                       enjoyed 
                              sole 
                                   responsibility for managing SHC to the
            benefit of both Palmer and PIN.  See Koberstein, 762 F.2d  at
            619  (finding  that  S  81  governs  management   contracts).
            Nonetheless,  despite  PIN's   assertion  that  the   parties
            envisioned the use  of PIN's lands to advance SHC's  business
            activities, the  Partnership Agreement  neither  specifically
            mentioned 
                     nor 
                        indirectly 
                                   referenced any use of land.  It merely
            stated 
                  that 
                       PIN would provide a $1 million Letter of Credit to
            secure Key Bank's Guaranteed  Loan financing the purchase  of
            SHC.   The Partnership  Agreement, therefore,  does not  fall
            within 
                  the 
                      parameters 
                                of 
                                   S 81 because it does not constitute an
            agreement   for   services  relative   to  Indian   lands.24 
                      Because the service that the Partnership  Agreement
            provided for  entailed  the  management of  SHC,  we  briefly
            evaluate 
                    this Agreement in light of Altheimer, which addressed
            the applicability of S 81 to a management agreement.  See 983
            F.2d 
                at 
                   811. 
                         The relevant Altheimer factors indicate that the
            24.  As previously noted, the parties to the Partnership
            Agreement submitted this Agreement for the Secretary's
            approval pursuant to S 81.  The Secretary specifically
            determined that S 81 did not pertain to the Agreement.
                                        -44-
                                         44

            Partnership Agreement  does not fall  within S 81's  purview.
            Specifically, the Partnership Agreement did not relate to the
            management of a facility to be located on Indian lands,  and,
            even if it did, the operation of such facility would not have
            depended in  any way  on  PIN's legal  status as  a  separate
            sovereign.  See id.
                           c.  Lease-Option Agreement
                      The Lease-Option Agreement, unlike the  Partnership
            Agreement, did not pertain  to "services" relative to  Indian
            lands.25  The Lease-Option simply provided that Schiavi Homes
            enjoyed the right to use  and improve the Holden Lot for  the
            purpose of conducting its business.  It also afforded Schiavi
            Homes an option to purchase the Holden Lot.  The Lease-Option
            never  mentioned and  did  not  relate to  the  provision  of
            services.  In addition, although it did involve real property
            that 
                PIN 
                    owned (the Holden Lot), as previously noted this land
            was 
               not 
                   within the parameters of S 81 because it was not trust
            land.   Even if  the Holden Lot  did constitute Indian  trust
            lands, S  81 would not  apply to  the Lease-Option  Agreement
            25.  The Assignment of Lease executed on December 1, 1988,
            transferring Schiavi Homes' entire interest in the Lease, and
            particularly the option to purchase the Holden Lot, to Key
            Bank as additional collateral for the repayment of its
            Guaranteed Loan in the amount of $3,500,000 did not require
            Secretarial approval under S 81.  This agreement did not
            entail any services and pertained only to the Holden Lot not
            to PIN's trust lands.  On July 20, 1989, moreover, PIN
            secured Bureau of Indian Affairs approval for this Assignment
            pursuant to Title IV of the Indian Financing Act of 1974, 25
            U.S.C. SS 1521-1524.
                                        -45-
                                         45

            because 
                   the 
                       Maine 
                            Indian 
                                   Claims Settlement Act provided that 25
            U.S.C.  SS  396  &amp; 415  would  govern  leases  involving  PIN
            territory.  See 25 U.S.C. S 1724(g)(3)(A)&amp;(B) (providing that
            25 U.S.C.  SS  396a-396g &amp;  415-415d  govern leasing  of  PIN
            Territory); see also Koberstein, 762 F.2d at 619  (indicating
            that S 81  governs transactions relative to Indian lands  for
            which Congress has not passed a specific statute).
            B.  Breach of Contract
                      Palmer and Palmer Management assert that by  filing
            the  instant suit,  PIN breached  the contractual  obligation
            memorialized  in the  Settlement Agreements  to "release  all
            claims."  In  their counterclaim, these two  cross-Appellants
            sought damages from this  purported breach deriving from  the
            "loss of time that could otherwise be spent in the pursuit of
            legitimate business interests."  On appeal, Palmer and Palmer
            Management request damages "caused by the lawsuit outside  of
            attorney 
                    fees."
                         26
                            
                             
                             Because we find the Settlement Agreements to
            constitute 
                      valid 
                           releases not within the parameters of S 81, we
            now 
               consider 
                        Palmer and Palmer Management's breach of contract
            counterclaims.
            26.  The district court devoted the majority of its analysis
            to the issue of whether a party may recover attorney's fees
            for the breach of a settlement agreement's release of claims. 
            The district court found that a party could not recover such
            attorney's fees in the defense of a suit that itself
            constituted a breach of a settlement agreement.  See
            Penobscot Indian Nation v. Key Bank, Civ. No. 94-0212-B, at 6
            (D. Me. Dec. 13, 1995).  Neither Palmer nor Palmer Management
            raises this issue on appeal.
                                        -46-
                                         46

                                        -47-
                                         47

                      Both Settlement  Agreements  state:   "The  parties
            hereto 
                  have 
                      been 
                           collectively negotiating a final settlement in
            the 
               Schiavi 
                       Homes 
                            loan 
                                 transaction, termination of business and
            liquidation, and are desirous of reaching a final  settlement
            between the parties  to avoid litigation now in existence  or
            that could  hereafter  arise."   As mentioned  earlier,  both
            Settlement Agreements  expressly  provided that  the  parties
            "release, remise and forever discharge each other . . .  from
            all suits .  . . at law or in equity . . . which directly  or
            indirectly 
                      relate[] 
                               to 
                                 . 
                                   . . any . . . transactions . . . among
            each other."  The district court dismissed Palmer and  Palmer
            Management's claim for lost  business damages on the  grounds
            that PIN's lawsuit in violation of the Settlement  Agreements
            "was  seemingly  in good  faith"  and  "was  not  frivolous."
            Penobscot Indian Nation v. Key Bank, Civ. No. 94-0212-B, at 6
            (D. Me. Dec. 13, 1995).
                      "A compromise agreement,  fairly arrived at, is  an
            enforceable  contract  both  under  Maine  law  and   general
            doctrine."
                     27
                        
                         Warner v. Rossignol, 513 F.2d 678, 682 (1st Cir.
            1975); 
                  see
                      
                      al
                        so Phillips v. Fuller, 541 A.2d 629, 629 n.1 (Me.
            27.  Despite the fact that this case raises a federal
            question, and thus that the district court exercised
            jurisdiction pursuant to 28 U.S.C. S 1331 not 28 U.S.C. S
            1332, we apply Maine law to the remaining claims because they
            all involve state law and raise substantive rather than
            procedural issues of law.  See Erie R.R. Co. v. Tompkins, 304
            U.S. 64, 78 (1938); Walton v. City of Southfield, 995 F.2d
            1331, 1343 (6th Cir. 1993) (applying state law in federal
            question case involving pendent state claims).
                                        -48-
                                         48

            1988) (recognizing that claim can be asserted for a breach of
            a settlement agreement, and, specifically, that such a  claim
            can 
               take 
                    the 
                        form of a counterclaim); A. L. Brown Constr. Co.,
            Inc.  v. McGuire,  495  A.2d  794, 798  (Me.  1985)  (finding
            settlement agreement to be an enforceable contract).  Whether
            or not an enforceable  contract is breached does not turn  on
            whether or not the breaching party acted in good faith.   Cf.
            John 
                D. 
                   Calamari &amp; Joseph M. Perillo, The Law of Contracts 455
            (2d 
               ed. 
                   1977) 
                        ("Any 
                              failure to perform a contractual duty which
            has  become  absolute  constitutes  a  breach.");  E.   Allan
            Farnsworth, 
                       Contracts
                                
                                636 (1982) ("[T]o abandon the traditional
            view 
                and 
                    take 
                        account 
                                of 
                                   good faith in all cases would probably
            be unworkable.").
                      The  issue  which   demands  our  full   attention,
            therefore, concerns the nature of the damages that Palmer and
            Palmer Management may receive as a result of PIN's breach  of
            the  Settlement Agreements.    Palmer and  Palmer  Management
            contend 
                   that 
                        Dodge v. United States Auto. Ass'n, 417 A.2d 969,
            975 (Me. 1980)  supports their claim  for damages other  than
            attorney's  fees.   In  Dodge,  the parties  entered  into  a
            settlement 
                      agreement concerning a homeowners insurance policy.
            The  agreement included  a  provision  releasing  all  claims
            stemming  from  the insurance  policy.    Subsequent  to  the
            execution of the agreement, plaintiff filed suit against  the
            insurance company.  The insurance company then responded with
                                        -49-
                                         49

            "a counterclaim for  specific performance  of the  settlement
            agreement and for damages resulting from [plaintiff's] . .  .
            breach thereof," id. at 972, which "consisted principally  of
            its attorney's fees incurred in defending the suit brought by
            [the  plaintiff]  .  .  .  in  violation  of  the  settlement
            agreement,"  id. at 975.   The Superior  Court did not  order
            specific shed by  the court's disposition of the main  claims
            asserted 
                    by 
                       [the plaintiff]."  Id. at 975.  The Superior Court
            also 
                denied 
                       the insurance company's claim for attorney's fees.
            See id.  
                      The insurance company cross-appealed these rulings,
            recognizing that  if  the Maine  Supreme Court  affirmed  the
            Superior 
                    Court's judgment, there would be no need to reach the
            issue of specific performance.  The Dodge court held:
                      Because of the pervasiveness and vigor of
                      the American rule making each party  bear
                      its own  attorney's  fees, parties  to  a
                      settlement--in  absence  of  an   express
                      contractual provision  to the  contrary--
                      must  be  taken  to  intend  to   exclude
                      attorney's  fees from  the  damages  that
                      otherwise  would  be  recoverable  as   a
                      foreseeable and probable consequence of a
                      breach of the agreement.
            Id.
               
                
                The 
                    Maine Supreme Court explained in detail its denial of
            damages 
                   which normally attend a breach of contract in the case
            of the breach of a settlement agreement:    
                      An after-the fact rationalization for the
                      rule denying normal contract damages  for
                      breach of settlement agreements can  also
                      be 
                        developed 
                                  from the strong public policy
                      favoring such settlements.  Were the rule
                                        -50-
                                         50

                      otherwise, a  lawyer would  be much  more
                      wary of  informal settlement  discussions
                      for fear of subjecting his client to  the
                      added  expense of  the  opposing  party's
                      attorney's   fees  if   it   were   later
                      determined that those discussions had  in
                      fact  reached  the  point  of  a  binding
                      bilateral 
                               agreement.  On balance it may be
                      preferable to  encourage free  settlement
                      negotiations, undampened  by the risk  of
                      the heavy damages that would be  assessed
                      in those relatively  few cases where  one
                      party fails to perform its agreement.
            Id.  at 976.    The Dodge  court  thus denied  the  insurance
            company's cross-appeal in full.
                      Although it may be debatable whether Dodge resolved
            the issue concerning the possibility of a non-breaching party
            recovering  on a  breach  of  contract theory  the  costs  of
            litigation, other than  attorney's fees,  resulting from  its
            defense  of a  suit filed  in contravention  of a  settlement
            agreement, we need not take up this debate today.  Palmer and
            Palmer Management have not directed us to any Maine case that
            grants damages of the variety that they seek, and we have not
            found 
                 any 
                     such case on our own initiative.  We note that Maine
            does 
                recognize the remedy of specific performance in the event
            of a breach of a settlement agreement.  See McGuire, 495 A.2d
            at 
              798 
                  (indicating that party may seek specific performance as
            remedy for breach of settlement agreement).  By ruling that S
            81 does not apply to the Settlement Agreements in this  case,
            and 
               thus 
                    that 
                        these 
                              Agreements preclude PIN's remaining claims,
            we effectively have provided Palmer and Palmer Management the
                                        -51-
                                         51

            equitable remedy of  specific performance  of the  Settlement
            Agreements.
                      We 
                        need 
                             not 
                                 sift alternative sources of authority to
            resolve  the exact issue  of whether or  not the law  affords
            damages in addition to specific performance in the event of a
            breach 
                  of 
                     a 
                      settlement 
                                 agreement28 because no material issue of
            fact 
                exists 
                       as 
                         to 
                            the 
                                damages that Palmer and Palmer Management
            sustained as  a  result of  PIN's  breach of  the  Settlement
            Agreements in this case.  See Fed. R. Civ. P. 56(e); Anderson
            28.  We recognize that certain jurisdictions may permit a
            party to sue for both specific performance and consequential
            See, e.g.,           v.     , 428 N.W.2d 647, 658 (Iowa
            damages in the case of the breach of a settlement agreement. 
                       Berryhill    Hatt
            1988); see also Restatement (Second) of Contracts S 281(3)
            (1981).  Other jurisdictions, however, apparently require a
            party to select between specific performance and monetary
            damages in the event of a breach of a settlement agreement. 
            See, e.g., TNT Marketing, Inc. v. Agresti, 796 F.2d 276, 278
            (9th Cir. 1986).  Even those jurisdictions that appear to
            afford an aggrieved party the right to sue both for specific
            performance and for consequential damages are not consistent
            in their approach.  In Village of Kaktovik v. Watt, 689 F.2d
            222 (D.C. Cir. 1982), for instance, the District of Columbia
            Circuit first stated:  "Upon breach [of a settlement
            agreement] by one party, the other party may obtain damages
            or specific performance as appropriate."  Id. at 230; see
            also Jackson v. Washington Monthly Co., 569 F.2d 119, 120 n.
            1 (D.C. Cir. 1977).  The Watt court then declared:  "Upon
            anticipatory breach of a settlement contract . . . the non-
            breaching party m[ay] choose . . . to enforce the agreement
            and perhaps also recover damages resulting from its breach .
            . . ."  Id. at 231.  We therefore believe that further
            exposition of this issue, see Blinzler v. Marriott Int'l,
            Inc., 81 F.3d 1148, 1151 (1st Cir. 1996) (explaining that
            when a state's highest court has not propounded on an issue
            in question, "we seek guidance in analogous state court
            decisions, persuasive adjudications by courts of sister
            states, learned treatises, and public policy considerations
            identified in state decisional law"), would be of little
            benefit in this case.
                                        -52-
                                         52

            v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986) ("[T]here is
            no 
              issue 
                    for 
                       trial 
                             unless there is sufficient evidence favoring
            the nonmoving party for a  jury to return a verdict for  that
            party."); Celotex v. Catrett, 477 U.S. 317, 323 (1986)  ("The
            moving party is 'entitled to a judgement as a matter of  law'
            [if] 
                . 
                  . 
                    . 
                      the nonmoving party has failed to make a sufficient
            showing on an essential  element of her case with respect  to
            which she  has  the burden  of proof.");  Cortes-Irizarry  v.
            Corporacion 
                       Insular 
                              de 
                                 Seguros, No. 96-1894, slip op. at 7 (1st
            Cir. 
                April 
                      16, 
                         1997) 
                               ("To defeat a motion for summary judgment,
            the nonmoving  party  must  demonstrate the  existence  of  a
            trialworthy issue as  to some material  fact.").  Palmer  and
            Palmer 
                  Management 
                            have 
                                 failed to submit any evidence of damages
            resulting either from  "loss of time that could otherwise  be
            spent in the pursuit  of legitimate business interests,"  or,
            more generally, from "the lawsuit outside of attorney  fees."
            We thus affirm the district court's grant of summary judgment
            for PIN on Palmer  and Palmer Management's counterclaims  for
            breach of the settlement agreement.
            C.  Defamation
                      Key Bank asserts that  the district court erred  in
            granting 
                    summary 
                           judgment for Marcello on Key Bank's defamation
            counterclaim.
                          The district court ruled that the press release
            Marcello prepared and distributed to the media concerning the
            two press conferences  in September 1994  did not defame  Key
                                        -53-
                                         53

            Bank.29       Penobscot                                     n
            Maine law governing a defamation claim initiated by a private
            person,
                     See           , 906 F. Supp.  at 22-23.  Relying  o
                    the district court  determined that Marcello was  not
            negligent 
                     in 
                        drafting and circulating the press release to the
            media because he reasonably relied "on the veracity of  PIN's
            complaint."   Id.  Finding  that Marcello's  conduct did  not
            amount even to the negligence applicable to private  persons,
            the district court did  not consider whether or not Key  Bank
            constituted a public figure.  See id.  
                      Key Bank insists that  a genuine issue of  material
            fact 
                existed 
                        concerning whether or not Marcello was negligent.
            Key 
               Bank 
                    also 
                        argues 
                               that the district court improperly granted
            summary judgment sua sponte on its defamation claims  against
            PIN,  Phillips, and  Pardilla.   The  other  cross-Appellants
            (Schiavi, Palmer, Palmer Development, and Palmer  Management)
            29.  As it did below, Key Bank argues that the following
            statements, contained in the press release that Marcello
            drafted and disseminated, are defamatory:  (1) the statement
            claiming that "money . . . had been stolen from" PIN; (2) the
            statement asserting that Key Bank "conspired and acted to
            defraud the Penobscot Nation;" (3) the statement explaining
            that "the conduct of Key Bank . . . resulted in the Penobscot
            Nation entering into an improvident and unconscionable
            partnership investment" pursuant to which it "relinquished
            its right, its land, and its money to those who plundered the
            Penobscot Nation, lied to the Penobscot Nation and its
            members, and stole from the Penobscot Nation and its
            members;" (4) the statement positing that "bad acts, fraud,
            and bad faith committed by Key Bank . . . against the
            Penobscot Nation is a far greater conspiracy than could have
            been outlined" in the press conference; and (5) the statement
            insisting that PIN "suffered grave financial losses and later
            learned that they have been victimized, manipulated, lied to,
            and used by Key Bank." 
                                        -54-
                                         54

            echo Key Bank's objection to the district court's sua  sponte
            ruling on their defamation claims against PIN.  They maintain
            that this ruling constituted reversible error.
                      1.  Marcello
                      We 
                        first 
                             consider 
                                      whether the district court properly
            granted 
                   summary judgment for Marcello on Key Bank's defamation
            claim.  In order to state a claim for defamation in Maine,  a
            private 
                   person must establish the following:  "(a) a false and
            defamatory statement concerning another; (b) an  unprivileged
            publication to a third party; (c) fault amounting at least to
            negligence on  the  part of  the  publisher; and  (d)  either
            actionability
                         of the statement irrespective of special harm or
            the existence  of special  harm caused  by the  publication."
            Powers, 596 A.2d at  69.  The issue  in this case is  whether
            Marcello's conduct constituted negligence.
                      We 
                        find 
                             that 
                                 the 
                                     existence of material issues of fact
            precludes 
                     the entry of summary judgment concerning this issue.
            See
               
               Lipsett
                       
                       v. 
                         University
                                    of P. R., 864 F.2d 881, 885 (1st Cir.
            1988)  ("If,  after .  .  . canvassing  .  . .  the  material
            presented, the district court finds that some genuine factual
            issue 
                 remains in the case, whose resolution one way or another
            could affect its outcome, the court must deny the  motion.").
            We 
              believe 
                     that 
                          reasonable jurors could find negligence in this
            case.  See Liberty Lobby, 477 U.S. at 248 (indicating that  a
            material issue of fact exists "if the evidence is such that a
                                        -55-
                                         55

            reasonable jury  could return  a verdict  for the  non-moving
            party"); see also Mejias-Quiros v. Maxxam Property Corp., 108
            F.3d 425, 427 (1st Cir. 1997) ("Negligence . . . is usually a
            jury issue,  but only if there  exists evidence from which  a
            rational jury could  find negligence in the case at  hand.");
            Taylor  v. Gallagher,  737  F.2d  134, 137  (1st  Cir.  1984)
            ("Summary judgment  is  inappropriate  in  [cases  involving]
            negligence 
                      . 
                        . 
                         . 
                           if 
                              genuine issues of material fact exist or if
            reasonable jurors could draw different inferences from agreed
            facts.").
                      Reasonable jurors could draw a conclusion, at  odds
            with 
                the 
                    district court's finding, that Marcello did much more
            than "read the substance of PIN's complaint to the print  and
            broadcast 
                     media at PIN's press conference."  Penobscot, 906 F.
            Supp. at 23.  Marcello's press release did not simply  recite
            the complaint; it used such language as "lied to," "cheated,"
            "manipulated," "stole[] from,"  and "conspired  and acted  to
            defraud" 
                    to 
                       describe Key Bank's conduct.  Given the negligence
            standard in Maine of a reasonably prudent person acting under
            like circumstances, see Lambert v. Tripp, 560 A.2d 1097, 1100
            (Me. 1989);  Wing v.  Morse, 300  A.2d 491,  499 (Me.  1973);
            Restatement (Second) of  Torts S 283 (1978), we believe  that
            reasonable jurors could find that Marcello's characterization
            of  Key  Bank's conduct  amounted  not  simply  to  "colorful
            adjectives 
                      and 
                         common 
                                parlance," Penobscot, 906 F. Supp. at 23,
                                        -56-
                                         56

            but to negligence.  See Marston v. Newavom, 629 A.2d 587, 592
            (Me. 1993) ("[D]efamatory language must be 'construed in  the
            light of what might reasonably have been understood therefrom
            by the persons who [heard] it.  In interpreting the language,
            it is . . . a question of . . . the understanding of those to
            whom the words are addressed and of the natural and  probable
            effect 
                  of 
                     the words on them.") (quoting Picard v. Brennan, 307
            A.2d 833, 835 (Me. 1973)).
                      Regardless of the reasonableness of the  statements
            that  Marcello  disseminated  to  the  media  at  the   press
            conferences, a material  issue of fact remains as to  whether
            Marcello  actually  "rel[ied]   on  the  veracity  of   PIN's
            complaint." 
                        
                        Penobscot, 906 F. Supp. at 23.  In his deposition
            testimony,  Marcello stated  repeatedly  that  he  could  not
            recollect the exact  documents that he  used to assemble  his
            press 
                 package.  At his deposition, in fact, Marcello could not
            locate  the written  notes  or  statements that  he  made  in
            preparation for the  press conferences.  There is a  material
            issue 
                 as 
                    to 
                       whether Marcello even consulted PIN's complaint in
            advance of the press conferences.
                      In any  event, Marcello has  not made a  sufficient
            showing that he was privileged to disseminate the  defamatory
            statements 
                      to the media.  Maine law provides that "allegations
            made in  pleadings  are absolutely  privileged."   Dineen  v.
            Daughan, 381  A.2d 663, 664 (Me.  1978); see also Creamer  v.
                                        -57-
                                         57

            Danks, 700  F. Supp. 1169.  1171 (D.  Me.) (discussing  Maine
            judicial 
                    proceedings 
                               pleadings privilege), aff'd, 863 F.2d 1037
            (1st Cir. 1988).  The Maine Supreme Court has indicated  that
            the privilege  may be  "lost by  unnecessary or  unreasonable
            publication 
                       beyond the scope of the privileged circumstances."
            Vahlsing Christina Corp.  v. Stanley, 487 A.2d 264, 267  (Me.
            1985); see also Sriberg  v. Raymond, 544 F.2d 15, 16-17  (1st
            Cir.  1976)   ("[I]f  an   occasion  is   privileged  as   to
            communications between certain parties, the privilege is lost
            if  the  communication  is  made  in  such  a  manner  as  to
            unnecessarily 
                         and 
                            unreasonably publish it to others, as to whom
            the 
               occasion 
                        is not privileged.") (quoting Galvin v. New York,
            168 
               N.E.2d 
                      262, 
                          266 
                              (N.Y. 1960)).  The Vahlsing Christina court
            reversed 
                    the 
                        dismissal of a defamation claim predicated on the
            dissemination of false  statements originally contained in  a
            complaint 
                     on 
                        the basis that publication removed the statements
            from the privileged context.  See id.
                      In 
                        this 
                             case, 
                                  a 
                                    media 
                                          relations consultant engaged by
            a party  to a lawsuit  claims protection  under the  judicial
            proceedings privilege for statements that he disseminated  to
            the press  concerning  the suit.   Marcello  published  these
            statements on the same  day that PIN filed the complaint  but
            prior to the  commencement of any  courtroom activity.   "The
            judicial 
                    proceedings 
                               privilege reflects public policy regarding
            the importance and necessity of the free flow of  information
                                        -58-
                                         58

            during such proceedings."  Creamer, 700 F. Supp. at 1171.  In
            light                                                       e
            public 
                  policy 
                        underlying 
                                   the judicial proceedings privilege, we
            doubt very  much that  this privilege  applies to  Marcello's
            publications, which were neither reasonable nor necessary for
                efficient disposition of the legal proceedings at  issue
                  of the  circumstances of the  press conference and  th
            the                                                         .
            See Frazier  v. Bailey,  957 F.2d  921, 932  (1st Cir.  1992)
            (explaining 
                       that 
                           under 
                                 Massachusetts law, if a communication is
            "unnecessarily or unreasonably  published," it  is no  longer
            privileged); Dineen,  381 A.2d at  665 ("The  purpose of  the
            privilege 
                     is 
                        to allow the attorney to litigate strenuously the
            interests 
                     of 
                        his 
                           client. 
                                    To fulfill this purpose the privilege
            need only be broad enough to encompass statements relevant to
            those interests.  To extend the protection beyond this  point
            would  be  to abuse  the  public  policy which  acts  rt  has
            explained, moreover, that  this privilege applies to  judges,
            parties, witnesses, and attorneys.  See id.; Dineen, 381 A.2d
            at 
              664-65. 
                       
                      Marcello 
                               directs us to no authority indicating that
            the  judicial  proceedings  privilege  pertains  to  a  media
            consultant who is not a party or a witness or an attorney  in
            the dispute at issue.30
            30.  Marcello contends that his statements are privileged
            because they fairly and accurately report a judicial
            proceeding.  The privilege that Marcello attempts to adopt at
            this point pertains to defamatory statements contained in
            reports of judicial proceedings prepared by reporters.  See
            Brown v. Hearst Corp., 54 F.3d 21, 25 (1st Cir. 1995); Jones
            v. Taibbi, 512 N.E.2d 260, 266 (Mass. 1987).  Regardless of
                                        -59-
                                         59

                      We 
                        thus 
                             conclude that Marcello's statements were not
            within the  judicial proceedings  privilege.   Based on  this
            conclusion, 
                       in addition to our findings that reasonable jurors
            could determine that  Marcello did more than read from  PIN's
            complaint and  that a  material issue  of fact  exists as  to
            whether  Marcello  actually  relied  on  PIN's  complaint  in
            formulating these statements,  we believe  that the  district
            court improperly granted summary judgment for Marcello.
                      We 
                        note 
                             that 
                                  if the trial court, with the assistance
            of  further factual  development,  determines that  Key  Bank
            constitutes a  public figure, it  may resolve the  defamation
            issue 
                 on 
                    alternative grounds.  According to the Supreme Court,
                      it 
                        may 
                            be 
                               possible for someone to become a
                      public 
                            figure through no purposeful action
                      of his own,  but the  instances of  truly
                      involuntary  public   figures   must   be
                      exceedingly 
                                 rare.  For the most part those
                      who attain this status have assumed roles
                      of especial prominence in the affairs  of
                      society.  Some  occupy positions of  such
                      persuasive power and influence that  they
                      are  deemed   public  figures   for   all
                      purposes. 
                                
                                More commonly, those classed as
                      public figures have thrust themselves  to
                      the  forefront   of   particular   public
                      controversies in  order to influence  the
                      resolution of the issues involved.
            Gertz  v. Robert  Welch,  Inc.,  418 U.S.  323,  345  (1974).
            Although  ostensibly  a question  of  law  suitable  for  our
            the fairness or accuracy of Marcello's publications, he is
            not a reporter.  In any event, Maine does not appear to have
            adopted the "reporter privilege" to this date, and we will
            not speculate as to the future development of Maine law.
                                        -60-
                                         60

            resolution, see  Quantum Elecs. Corp.  v. Consumers Union  of
            United States,  Inc., 881 F.  Supp. 753,  763 (D.R.I.  1995);
            Haworth v. Feigon, 623 A.2d 150, 158 (Me. 1991);  Restatement
            (Second) of Torts S 580A  cmt. c (1978), a finding of  public
            figure   status  necessitates   a   detailed   fact-sensitive
            determination, see Bruno &amp; Stillman, Inc. v. Globe  Newspaper
            Co., 633 F.2d 583, 589 (1st Cir. 1980); Quantum, 881 F. Supp.
            at 
              763; 
                   Lawrence 
                           H. 
                              Tribe, American Constitutional Law S 12-13,
            at 880-81 (2d ed. 1988) (explaining that the determination of
            whether  an individual  constitutes a  limited public  figure
            necessitates 
                        that 
                            the 
                                trial court establish first the existence
            of a "public  controversy," and second  "that the nature  and
            extent 
                  of 
                     the 
                        person's 
                                 participation in the controversy reached
            some critical mass at which 'voluntary injection' occurred").
            On 
              the 
                  record 
                        before 
                               us 
                                  now, we cannot make this particularized
            factual determination.31
                      If  the  trial  court  determines  that  Key   Bank
            constitutes a public figure, Marcello may claim a conditional
            privilege 
                     regarding 
                              his 
                                  publications concerning Key Bank.  Such
            a privilege exists for statements concerning public  figures.
            See Curt is Publ'g Co.  v. Butts, 388  U.S. 130, 155  (1967).
            31.  Marcello must establish sufficient evidence to support a
            factual conclusion that Key Bank is a public figure.  See
            Restatement (Second) of Torts S 580A cmt. e (1977) ("For a
            privilege created by the law to apply, the person who seeks
            to dispel the seemingly tortious character of his conduct
            normally has the burden of raising the issue of the privilege
            and proving the existence of its elements.").  
                                        -61-
                                         61

            Liability 
                     does 
                         not 
                             attach for a defamatory statement concerning
            a public figure  unless the publisher of the statement  acted
            with knowledge or  reckless disregard of  the falsity of  the
            defamatory publication.  See New York Times v. Sullivan,  376
            U.S. 
                254, 
                     279-80 (1964); Curtis Publ'g, 388 U.S. at 155; Time,
            Inc. v.  Firestone,  424 U.S.  448,  455 (1976);  Michaud  v.
            Inhabitants 
                       of 
                         Livermore 
                                   Falls, 381 A.2d 1110, 1113 (Me. 1978).
            On the record before us, we do not presume to direct a  trial
            court finding regarding either the predicates for or, in  the
            event that the trial court establishes the existence of  such
            predicates, the consequences of a conditional privilege.
                      2.  PIN, Phillips, and Pardilla
                      We now turn  to the issue  of whether the  district
            court properly granted summary  judgment sua sponte for  PIN,
            Phillips, and Pardilla.  "It is [clear] that district  courts
            have  the  power  to  grant  summary  judgment  sua  sponte."
            Berkovitz v. Home Box Office, Inc., 89 F.3d 24, 29 (1st  Cir.
            1996).  Two conditions,  however,  circumscribe the  district
            court's exercise  of this power:   first,  discovery must  be
            "sufficiently  advanced  that  the  parties  have  enjoyed  a
            reasonable opportunity to glean the material facts;"  second,
            the 
               district 
                        court must "give[] the targeted party appropriate
            notice and a chance to present its evidence on the  essential
            elements of the claim or  defense."  Id.; see also Stella  v.
            Tewksbury
                    , 
                      4 
                       F.3d 
                            53, 
                                55 
                                   (1st Cir. 1993); Jardines Bacata, Ltd.
                                        -62-
                                         62

            v. Diaz-Marquez, 878 F.2d 1555, 1560 (1st Cir. 1989). 
                      In this case, discovery had proceeded to the  point
            that 
                the 
                    parties understood the material facts.  PIN filed its
            complaint and conducted  the press  conferences in  September
            1994.  The district court did not make its sua sponte  ruling
            until October 1995.  By this time, the parties had compiled a
            voluminous record  that included  depositions of  all of  the
            parties involved in the press conference.
                      As in Berkovitz, however, the district court  never
            "gave the [cross-Appellants] a meaningful opportunity to cull
            the  best evidence  supporting  [their] position[s],  and  to
            present  that   evidence,  together   with  developed   legal
            argumentation
                        , in opposition to the entry of summary judgment"
            with respect PIN, Phillips, and Pardilla.  Id. at 31.  On the
            contrary, the district court's  sua sponte ruling took  these
            parties by  surprise;  only Marcello  had moved  for  summary
            judgment and neither Schiavi nor the Palmer Defendants  filed
            defamation claims against Marcello.32
            32.  Although Key Bank did have the opportunity to present
            its position with respect to Marcello, it did not in the case
            of PIN, Phillips, and Pardilla because none of these parties
            moved for summary judgment.  Key Bank's argumentation may
            have differed little in response to summary judgment motions
            filed by PIN, Phillips, and Pardilla, given the similarity of
            the facts and circumstances relating to its claims against
            these parties.  The nature of PIN, Phillips, and Pardilla's
            relationship to the conduct at issue as well as the defenses
            that these parties now assert in response to Key Bank's
            defamation claims, however, support Key Bank's argument that
            it would have responded differently to these parties had the
            district court afforded it an opportunity to do so.  See
                                        -63-
                                         63

                      We acknowledge that "[t]his court from time to time
            has 
               refused 
                       to permit appellants to take advantage of supposed
                  ghts that had  not been called to the district  court's
            attention by  way of a [timely]  motion to reconsider."   Id.
            (citing United States v. Schaefer, 87 F.3d 562, 570 n.9  (1st
                 1996); 
            oversi
            Cir.        Grenier v. Cyanamid Plastics, Inc., 70 F.3d  667,
            678 (1st Cir. 1995); VanHaaren v. State Farm Mut. Auto.  Ins.
            Co., 989 F.2d 1, 4-5 (1st Cir. 1993)).  Like the appellant in
            Berkovitz
                    , 
                     however, 
                              the 
                                  Palmer Defendants timely filed a motion
            to reconsider.  Although Key Bank and Schiavi did not  follow
            suit, 
                 the 
                    considerations 
                                   that govern the filing of a motion for
            reconsideration are very flexible.  See Berkovitz, 89 F.3d at
            31; United  States v. Roberts, 978  F.2d 17, 21-22 (1st  Cir.
            1992).  In any event, neither the cases that Berkovitz  cites
            nor Rule  56 imposes an  obligation on the  subject of a  sua
            sponte summary judgment ruling to move for reconsideration in
            order to preserve its claims on appeal.  We therefore refrain
            from penalizing  Key  Bank and  Schiavi for  their  purported
            oversight.  Because  the district court failed to afford  the
            Stella, 4 F.3d at 56 (noting the special preparation
            necessary to defend a motion for summary judgment). 
            Significantly, Key Bank did not present evidence, either in
            its written or in its oral defense to Marcello's summary
            judgment motion, concerning PIN, Phillips, or Pardilla.  See
            Berkovitz, 89 F.3d at 31 n.8 (reasoning that plaintiff at
            issue in Berkovitz did not have an opportunity to put forth
            evidence relating to summary judgment motion).  We thus
            include Key Bank in our disposition of the district court's
            sua sponte defamation rulings.     
                                        -64-
                                         64

            cross-Appellants 
                            any 
                               opportunity to oppose its grant of summary
            judgment for PIN,  Phillips, and Pardilla, we hold that  this
            ruling cannot stand.
            D.  Emotional Distress
                      The district court awarded PIN summary judgment  on
            Palmer's claims for both intentional and negligent infliction
            of emotional distress deriving from the two press conferences
            held 
                in 
                   September 
                            1994. 
                                   
                                   In his Brief, Palmer merely adverts to
            the issue  of  whether the  district court  properly  granted
            summary judgment on these  two claims.  Specifically,  Palmer
            mentions 
                    this issue only in the table of contents and a single
            heading of his Brief.  Other than these floating  references,
            Palmer  never  makes any  argument  in  his  principal  brief
            concerning either  intentional  or  negligent  infliction  of
            emotional 
                     distress. 
                                
                               "It 
                                   is settled in this circuit that issues
            adverted 
                    to 
                       on 
                         appeal 
                                in 
                                   a perfunctory manner, unaccompanied by
            some  developed  argumentation,  are  deemed  to  have   been
            abandoned."  Ryan v. Royal  Ins. Co., 916 F.2d 731, 734  (1st
            Cir. 
                1990); 
                       s
                        ee also Williams v. Poulos, 11 F.3d 271, 285 (1st
            Cir. 1993).
                      We recognize that, in its Reply Brief, PIN notes in
            passing the  fact that the  district court "correctly"  ruled
            against Palmer  and awarded summary  judgment to  PIN on  the
            emotional  distress  claims  that  Palmer  mentioned  in  his
            counterclaim.   In  his  Reply Brief,  Palmer  articulates  a
                                        -65-
                                         65

            "response" 
                      to PIN concerning the emotional distress claims and
            devotes four pages  to the argument  that the district  court
            improperly 
                      granted 
                             PIN 
                                 summary judgment on these claims.  As we
            have  stated previously,  "relief  from an  appellate  court,
            requested for the first time in a reply brief, is  ordinarily
            denied 
                  as 
                     a 
                      matter 
                             of 
                                course."  Aulson v. Blanchard, 83 F.3d 1,
            7  (1st Cir.  1996); see  also Indian  Motorcycle Assocs.  v.
            Massachusetts Hous. Fin. Agency, 66 F.3d 1246, 1253 n.12 (1st
            Cir. 1995).  The general rule set forth in Aulson and  Indian
            Motorcycle applies to thi time in his Reply Brief.
            E.  Supplemental Jurisdiction
                      The 
                         final 
                               issue confronting us is whether or not the
            district 
                    court properly exercised and now retains jurisdiction
            over the state law claims at issue in this case.  28 U.S.C. S
            1367(a) 
                   provides: 
                              
                             "[I]n 
                                   any civil action of which the district
            courts have original jurisdiction, the district courts  shall
            have supplemental jurisdiction over all other claims that are
            so related  to  claims in  the  action within  such  original
            jurisdiction  that  they  form  part  of  the  same  case  or
            controversy   under  Article   III  of   the  United   States
            Constitution."  Section 1367(a)'s discussion of  supplemental
            jurisdiction embraces both pendent and, more importantly  for
            our purposes, ancillary jurisdiction.  See Rodriguez v. Doral
            Mortgage Corp., 57 F.3d 1168, 1175 n.8 (1st Cir. 1995); Vera-
            Lozano
                  
                  v. 
                     Int
                        ernational Broadcasting, 50 F.3d 67, 70 (1st Cir.
                                        -66-
                                         66

            1995).
                      In this case, the district court exercised original
            jurisdiction 
                        pursuant 
                                to 
                                   28 U.S.C. S 1331 because PIN's primary
            claim 
                 arose 
                       under 
                            25 
                               U.S.C. S 81.  The district court correctly
            exercised jurisdiction to  hear the Appellees'  counterclaims
            because  state and  federal  claims  form part  of  the  same
            constitutional case if they "derive from a common nucleus  of
            operative fact" or "are such that . . .  would ordinarily  be
            expected to [be] tr[ied]  . . . in one judicial  proceeding."
            United 
                  States Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966);
            see also Baker  v. Gold Seal Liquors,  417 U.S. 467, 469  n.1
            (1974) 
                  (finding 
                          ancillary jurisdiction when counterclaim arises
            out of the "same transaction or occurrence" as the underlying
            claim); 
                   Rodri
                        guez, 57 F.3d at 1175-76 (quoting Gibbs, 383 U.S.
            at 725).   As the Magistrate Judge  noted in this case,  "the
            truth  or  falsity  of the  statements  [made  at  the  press
            conferences] 
                        for 
                           purposes of the defamation claim . . . turn[s]
            on the same  'aggregate of operative  facts' as the  original
            claim."
                  33
                     
                      
                      Pe
                        nobscot Indian Nation v. Key Bank, No. 94-0212-B,
            33.  We do not distinguish between the counterclaims of
            Schiavi, Palmer, Palmer Development, Palmer Management, and
            Key Bank against PIN and the counterclaims of Key Bank
            against Marcello, Phillips, and Pardilla, for purposes of our
            discussion of supplemental jurisdiction.  All of the
            counterclaims satisfy the "basic transaction-or-occurrence
            test that is used to distinguish between compulsory and
            permissive counterclaims."  6 Charles Alan Wright &amp; Arthur R.
            Miller, Federal Practice and Procedure S 1404, at 32 (2d ed.
            1990).  Supplemental jurisdiction exists for all of the
            counterclaims in this case. 
                                        -67-
                                         67

            at 2 (D. Me. Nov. 10, 1994); see also Painter v. Harvey,  863
            F.2d 329,  333  (4th  Cir. 1988)  (finding  counterclaim  for
            defamation  fell within  the  ancillary jurisdiction  of  the
            district 
                    court); 
                           Pochiro
                                   
                                   v. Prudential Ins. Co., 827 F.2d 1246,
            1251 (9th cir. 1987) (finding that if "defamatory  statements
            are sufficiently  related  to  [sic] subject  matter  of  the
            original action," defamation  claim constitutes a  compulsory
            counterclaim).
                      Although our  affirmance  of the  district  court's
            ruling with respect to S 81 eliminates the sole federal claim
            conferring 
                      original jurisdiction pursuant to 28 U.S.C. S 1331,
            the district court has discretion to hear the remaining state
            law  claims at  issue.   "In  a  federal question  case,  the
            termination of the foundational federal claim does not divest
            the  district  court   of  power  to  exercise   supplemental
            jurisdiction, but, rather, sets the stage for an exercise  of
            the court's informed discretion."  Roche v. John Hancock Mut.
            Life Ins. Co., 81 F.3d 249, 256-57 (1st Cir. 1996) (citing 28
            U.S.C. S 1367(c)(3)).   As the Roche court pointed out,  "the
            trial 
                 court 
                       must 
                           take 
                                into account concerns of comity, judicial
            economy, convenience, fairness, and the like" in making  this
            decision.  Id.  at 257.   This determination necessitates  an
            evaluation of the facts peculiar to each case.34 
            34.  Finding that the district court properly considered the
            state law claims at issue despite the fact that it had
            disposed of the federal claim supporting original
                                        -68-
                                         68

                      We 
                        emphasize 
                                  that the decision to retain or disclaim
            jurisdiction over the remaining state law claims at issue  in
            this case lies in the broad discretion of the district court.
            See
               
               Vera-Lozano
                         , 
                           50 
                              F.3d 
                                   at 70; Martinez v. Colon, 54 F.3d 980,
            990 
               (1st 
                    Cir.) (finding that "once the court determined so far
            in advance  of  trial  that no  legitimate  federal  question
            existed, the  jurisdictional  basis for  plaintiff's  pendent
            claims 
                  under 
                        Puerto 
                              Rico 
                                   law evaporated"), cert. denied, 116 S.
            Ct. 
               515 
                   (1995). 
                           
                           28 
                              U.S.C. S 1367(c) specifically provides that
            the  district  court  may  refuse  to  exercise  supplemental
            jurisdiction over  a state law claim  if the claim "raises  a
            novel  or  complex   issue  of  State  law,"  if  the   claim
            "substantially 
                          predominat
                                   es over the claim or claims over which
            the district  court has  original jurisdiction,"  or if  "the
            district court  has dismissed all  claims over  which it  has
            original jurisdiction."
            jurisdiction, the Roche court emphasized the following:  "The
            litigation had matured well beyond its nascent stages,
            discovery had closed, the summary judgment record was
            complete, the federal and state claims were interconnected,
            and powerful interests in both judicial economy and fairness
            tugged in favor of retaining jurisdiction."  81 F. 3d at 257.
                                        -69-
                                         69

                                     Conclusion
                      These appeals present many interesting issues.   We
            find the question of S 81's applicability to the transactions
            at issue in this case particularly important in light of  the
            evolution 
                     of 
                       federal 
                               Indian law and of the marketplace in which
            Indian tribes actively participate.  Our conclusion that S 81
            does not apply either to the Settlement Agreements or to  the
            underlying 
                      agreements 
                                governing the parties' business relations
            reflects our determination not simply to dovetail with  those
            authorities that have offered persuasive interpretations of S
            81 before us, but further to reach a logical conclusion  that
            promotes the interests of Indian tribes as they grapple  with
            modern 
                  economic 
                          realities.  We believe that in so doing we also
            give effect to  the intentions of those  who adopted S 81  in
            1872.
                      We affirm in part, reverse and vacate in part,  and
            remand 
                  to 
                     the 
                        district 
                                 court for further proceedings consistent
            with this opinion.  Costs to Appellees and cross-Appellants.
                                        -70-
                                         70


